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                    USA Master Services Agreement

                               CW2291283

                                Between
                        PHILLIPS 66 Company
                                  And
                      Blanchard Contractors, Inc



                  Effective:   17 November 2016




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                              USA MASTER SERVICES AGREEMENT


This Master Services Agreement                  (the "Agreement"), effective as of the 17 day of November
2016 (the "Effective Date"), is entered into by and between Phillips 66 Company, a Delaware corporation
having offices at 2331 CityWest Blvd., Houston, Texas 77042, (hereinafter referred to as "Company"),
and Blanchard Contractors, Inc, a Louisiana, Corporation having offices at 15444 Hwy 3235
(hereinafter referred to as "Contractor").

WHEREAS, Company and/or its Affiliates (as hereinafter defined) may, from time to time, desire
Contractor and/or its Affiliates to perform work and/or provide items of equipment, machinery, materials,
goods or supplies in support of downstream operations or projects of Company and/or its Affiliates in the
United States of America; and

WHEREAS, Company and Contractor are each committed to safety and the protection of the environment
in all aspects of performance and operations as a core principle and philosophy; and

WHEREAS, Company and Contractor desire to establish certain terms and conditions which shall be
incorporated into and shall apply to each Service Order (as hereinafter defined) entered into between
Company or its Affiliates and Contractor or its Affiliates pursuant to this Agreement;

NOW, THEREFORE, in consideration of the foregoing express premises and the mutual covenants
hereinafter set forth, Company and Contractor hereby agree as follows:


1. DEFINITIONS
    When used in this Agreement and/or in any Service Order, capitalized terms shall have the meanings
    specified in this Article 1.
    "Affiliate" shall mean any entity, including but not limited to corporations, limited liability companies,
    partnerships and joint ventures, controlled by, under common control with, or controlling a party, with
    "control" being defined as owning, directly or indirectly, fifty percent (50%) or more of the assets or
    the outstanding shares having voting rights, or otherwise having the right, either by contract or
    otherwise, to control the operation, management or policy of such entity. Notwithstanding anything to
    the contrary set forth in this Agreement, the parties hereby agree that Gulf Coast Fractionators shall
    be considered to be an "Affiliate" of Phillips 66 Company under this Agreement.
   "Agreement" shall have the meaning provided in the first paragraph above.
   "Change Order" shall mean a written order issued by Company to Contractor after the execution of a
   Service Order that authorizes an addition to, deletion from or other modification or adjustment to the
   requirements of the Service Order.
   "Claims" shall mean causes of action, claims, suits, losses, liabilities, fines, penalties, costs,
   damages, judgments, awards and expenses, including, but not limited to, court costs and reasonable
   attorneys' fees.
   "Company" shall have the meaning provided in the first paragraph of this Agreement where the term
   is used in relation to this Agreement and/ not to a specific Service Order. Where the term is used with
   regard to responsibilities, rights and obligations under an individual Service Order, "Company" shall
   mean the entity identified as "Company" in that Service Order.


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"Company Equipment" shall have the meaning provided in Article 5.

"Company Indemnitees" shall mean Company and any of its Affiliates and Coventurers who are
participants in the project to which the Work relates.

"Company Representative" shall mean the individual appointed by Company in a Service Order (or
subsequent thereto in writing to Contractor) who shall have authority to deliver to and receive from
Contractor notices related to the Service Order and who shall be the main point of contact for
Contractor with respect to that Service Order.

"Company's Pre-Existing Contamination" shall mean pollution or contamination from hazardous or
toxic materials present at the portion of the Worksite owned by Company prior to commencement of
the Work. Such Company's Pre-Existing Contamination includes only such materials that are latent or
concealed and not those routinely used or handled in operations. For example, and not by way of
limitation, materials contained in tanks, piping, vessels or process units are not Company's Pre-
Existing Contamination, whereas hazardous or toxic materials contained in soils, waste material or
groundwater are Company's Pre-Existing Contamination.

"Contractor" shall have the meaning provided in the first paragraph of this Agreement where the term
is used in relation to this Agreement and not to a specific Service Order. Where the term is used with
regard to responsibilities, rights and obligations under an individual Service Order, "Contractor" shall
mean the entity identified as "Contractor" in that Service Order.

"Contractor Entity" shall mean Blanchard Contractors, Inc or one of its Affiliates.

"Contractor Indemnitees" shall mean Contractor and its subcontractors and any of their respective
Affiliates that are involved in the Work or in the project for which the Work is provided.

"Contractor Party" or "Contractor Parties" shall mean Contractor's principals, agents, subcontractors,
and all others for whose actions Contractor may be held accountable.

"Contractor Representative" shall mean the individual appointed by Contractor in a Service Order (or
subsequent thereto in writing to Company) who shall have authority to deliver to and receive from
Company notices related to the Service Order and who shall be the main point of contact for
Company with respect to that Service Order.

"Coventurer" shall mean any entity having an interest in a joint venture, consortium or other joint
association with Company (and being a party to the related joint operating agreement, unit operating
agreement, joint venture agreement or other agreement governing operations) under which, and on
behalf of whom the Work is being performed and the successors and assigns of such entity.

"Effective Date" shall have the meaning set forth in the first paragraph above.

"Employee" shall mean (i) permanent, part-time and temporary employees, as well as personnel
whose services are obtained by a party through a staffing or personnel services company and (ii)
employees of a party's Affiliates or Coventurers who are providing services related to the Work under
the direct control of the party.

"Export and Sanctions Law" shall have the meaning in Article 14.1.

"Force Majeure" shall mean an act or event that (i) delays or renders impossible the affected party's
performance of its obligations under a Service Order; (ii) is beyond the reasonable control of the
affected party, not due to its fault or negligence and was not reasonably foreseeable; and (iii) could
not have been prevented or avoided by the affected party through the exercise of due diligence. To
the extent that (i) through (iii) above are satisfied, Force Majeure shall include catastrophic storms or
floods, tornadoes, hurricanes, typhoons, cyclones, tsunamis, earthquakes and other acts of God,



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wars, civil disturbances, terrorist attacks, revolts, insurrections, sabotage, national or industry-wide
strikes, commercial embargoes, epidemics, fires, explosions, and actions of a government
instrumentality that were not requested, promoted, or caused by the affected party. Force Majeure
shall not include any of the following: (a) economic hardship; (b) changes in market conditions; (c)
late delivery or failure of construction equipment or other equipment of Contractor used for
performance of the Work; (d) labor availability or strikes (except national or industry-wide strikes); (e)
shortage of materials, consumable, equipment or utilities; (f) climatic conditions (including rain, snow,
wind, temperature and other weather conditions), tides, and seasons, regardless of the magnitude,
severity, duration or frequency of such climatic conditions (other than catastrophic storms or floods,
tornadoes, hurricanes, typhoons, cyclones, tsunamis or earthquakes); or (g) nonperformance or delay
by Contractor or its subcontractors; unless such event is otherwise caused by Force Majeure.

"Imaged Agreement" shall have the meaning in Article 33.10.

"Indemnify" or "Indemnification" shall mean defend, release, indemnify and hold harmless.

"MBE" shall mean a business enterprise that is at least fifty-one percent (51°/o) owned by a minority or
group of minorities and has its management and daily business controlled by one or more such
individuals. Minorities shall include, but not be limited to, Black Americans, Hispanic Americans,
Native Americans, Asian Pacific Americans, and Asian Indian Americans.

"OCIP" shall mean an Owner Controlled Insurance Program, as further discussed in Article 19.8 of
this Agreement.
"Personal Injury" shall mean any injury suffered by a natural person including death, sickness, ill
health, disease, and mental anguish, distress or injury.

"PSX Entity" shall mean Phillips 66 Company or one of its Affiliates.

"Service Order" shall mean a specific agreement established in accordance with the terms in Article 2
of this Agreement for goods and/or services between Company and Contractor in the form set forth in
Exhibit "A", attached hereto and made a part hereof, or in such other form as Company and
Contractor may agree.
"Site" shall mean property owned or controlled by Company at which the Work will be installed and/or
utilized by Company.

"W BE" shall mean a business enterprise that is at least fifty-one percent (51°/o) owned by a woman or
group of women and has its management and daily business controlled by one or more such
individuals.

"Work" shall mean the scope of services to be performed and/or the goods to be provided by the
Contractor for Company under an individual Service Order.

"Work in Progress" shall mean all of the following (i) any Work being performed by Contractor or its
subcontractors of any tier at the Worksite; (ii) any equipment or materials supplied by Contractor for
incorporation into the Work from the time such equipment or materials pass the ship's rail of the
vessel for delivery to the Worksite or are otherwise loaded on means of conveyance to the Worksite,
whichever is earlier; (iii) any materials or equipment supplied by Company for incorporation into the
Work from the time such equipment or materials are delivered to Contractor at the Worksite; and (iv)
any equipment or materials intended for incorporation into the Work which are obtained by Contractor
as agent for Company from the time such equipment or materials are delivered to Contractor at the
Worksite.




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  "Work Product" shall mean written materials, plans, drawings, specifications, records, computer files,
  or other tangible manifestations of efforts of Contractor or its subcontractors prepared pursuant to
  Service Order, including drafts.
  "Worksite" shall mean the Site along with any areas which are in the vicinity of the Site; (i) either
  provided by Company to Contractor for Contractor's use or approved by Company; and (ii) used for
  storage area, laydown area or fabrication.


2. SERVICE ORDER
  2.1.    When a PSX Entity desires to obtain goods and/or services, from a Contractor Entity, the
          Company shall either (i) prepare and deliver to the Contractor Entity a written Service Order;
          or (ii) issue to the Contractor Entity an electronic Service Order from Company's SAP
          enterprise system.
          2.1.1. If Company utilizes a written Service Order, Company shall issue the Service Order in
                   two originals, and Contractor shall indicate its acceptance of and agreement to the
                   terms and conditions of the Service Order by signing and returning both originals of
                   the Service Order to Company.
                 If any of the terms of the Service Order are unacceptable to Contractor, Contractor
                 shall return both originals of the Service Order to Company specifying Contractor's
                 issue(s) with the Service Order. Under no circumstances will Contractor make any
                 modifications to the terms and conditions of the Service Order or execute the Service
                 Order based on terms to be negotiated, other sets of terms and conditions or any
                 changes to the terms and conditions of the Service Order. Any such modifications or
                 predicated or conditional execution of the Service Order shall be deemed to be a
                 rejection of the Service Order, and any performance by Contractor based on such
                 modified or conditioned or predicated Service Order shall be performed at
                 Contractor's own cost and risk without any recompense whatsoever.
                 Contractor shall not commence performance under any written Service Order until the
                 agreed Service Order has been executed by Company. In the event Contractor
                 commences work under a Service Order signed by Company but prior to Contractor
                 signing such Service Order, Contractor shall be deemed to have accepted the terms
                 of the Company signed Service Order.
          2.1.2. If Company utilizes an electronic Service Order, the Service Order shall be issued to
                  Contractor from Company's SAP enterprise system and shall be provided to
                  Contractor by fax, electronic mail or hard copy. Such electronic Service Order shall
                  constitute an offer on the part of Company, and Contractor may accept the offer by
                  commencing performance in accordance with the terms of the Service Order or by
                   signing and returning to Company a hard copy of the Service Order.
                 Upon Contractor commencing performance under the Service Order without
                 qualification or condition or signing and returning to Company a hard copy of the
                 Service Order without condition or modification, both Company and Contractor shall
                 be bound to the terms of the Service Order. If any of the terms of the Service Order
                 are unacceptable to Contractor, Contractor shall not commence performance of the
                 Work under the Service Order and shall communicate to Company its issue(s) with
                 the Service Order.




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              Under no circumstances will Contractor make any modifications to the terms and
              conditions of the Service Order or commence performance or execute the Service
              Order based on terms to be negotiated, other sets of terms and conditions or any
              changes to the terms and conditions of the Service Order. Any such modifications or
              predicated or conditional execution of the Service Order shall be deemed to be a
              rejection of the Service Order, and any performance by Contractor based on such
              modified or conditioned or predicated Service Order shall be performed at
              Contractor's own cost and risk without any recompense whatsoever.
       2.1.3. Whether utilizing a written Service Order or electronic Service Order, each Service
              Order shall, at least, (i) specify that the Work is to be performed in accordance with
              and subject to the terms of this Agreement to the exclusion of all other terms and
              conditions; (ii) detail the scope of work or supply to be provided by Contractor under
              the Service Order; (iii) detail the compensation to be paid by Company for the
              performance of the Work, as provided in Article 9, (as well as any invoicing or
              payment provisions specific to such Service Order); and (iv) include, in accordance
              with Article 2.2.1 below, any modification, change or amendment to the terms and
              conditions of the Agreement that will apply to the Work under the Service Order (if
              any) and any additional terms and conditions that will apply to the Work under the
              Service Order (if any).
2.2.   Each Service Order issued shall be deemed to be a separate contract between the
       "Company" and "Contractor" parties that are identified in such Service Order and are
       signatories thereto. The terms and conditions applicable to the Work to be provided pursuant
       to such Service Order are those set forth in this Agreement, except as otherwise amended by
       the specific terms of the Service Order in the manner provided in Article 2.2.1 below, and any
       additional terms and conditions contained in such Service Order. Only the specified Company
       and specified Contractor in the Service Order shall have the rights and obligations of
       "Company" and "Contractor" set forth in the Agreement relative to that particular Service
       Order, and such rights and obligations under that particular Service Order shall extend only to
       the Work performed under that Service Order.
       2.2.1. The Contractor and Company who are signatories to a particular Service Order may
               modify, change or amend the terms of this Agreement (including the terms of any
               Exhibit hereto) as it applies to such Service Order, however such modifications,
               changes or amendments, must be documented in the Service Order in the manner
               provided in this Article 2.2.1. Any proposed or intended modifications that are not
               documented in accordance with the terms of this Article 2.2.1 shall be null and void
               and of no effect. Any modification, change or amendment in a particular Service Order
               must (i) be in writing in the body of the Service Order or in a writing attached to and
               specifically incorporated into the Service Order; (ii) expressly refer to the specific
               Article of this Agreement, including the specific article number and heading, that is
               being changed, modified, or amended for the specific Service Order; and (iii)
               expressly indicate the agreement of the Company and the Contractor to change,
               modify or amend such specific Article for the particular Service Order. Any additional
               terms that are added to the Service Order which are intended or have the effect of
               changing, modifying or amending any term of this Agreement (including the Exhibits
               hereto) as it applies to such Service Order must comply with the specific requirements
               of this Article 2.2.1, or such additional terms shall be null and void and of no effect.




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  2.3.   In the event of conflict between the documents forming a part of a Service Order, the conflict
         shall be resolved in accordance with the following order of precedence:

         (a) Modifications, changes or amendments to the terms of this Agreement that are applicable
             to the specific Service Order as well as additional terms added to the Service Order
             which modify, change or amend the terms of this Agreement as applied to such Service
             Order, provided such modifications, changes, amendments and additional terms are
             added and documented in accordance with the terms of Article 2.2.1 hereto;

         (b) The terms of this Agreement;

         (c) Modifications, changes or amendments to the terms of any Exhibit to this Agreement that
             are applicable to the specific Service Order as well as additional terms added to the
             Service Order which modify, change or amend the terms of the Exhibit(s) to this
             Agreement as applied to such Service Order, provided such modifications, changes,
             amendments and additional terms are added and documented in accordance with the
             terms of Article 2.2.1 hereto;

         (d) The Exhibits to this Agreement in alphabetical order; and

         (e) Other terms of the Service Order

  2.4    Nothing in this Agreement shall be construed as a guarantee or representation to Contractor
         that Company and/or its Affiliates will order or obtain any minimum amount of Work.

  2.5.   In addition to the other requirements, each Service Order shall state Contractor's Federal Tax
         ID number, State Tax ID number (if applicable) and State license number(s) (if applicable),
         unless the Service Order is generated within Company's SAP enterprise system.

  2.6    Contractor understands and agrees that Company and its Affiliates are not entering into any
         exclusive arrangement with Contractor for the supply of any goods or services, and Company
         and/or its Affiliates may, at their discretion, enter into similar master services agreements with
         other suppliers or contractors. Company understands and agrees that Contractor and its
         Affiliates are not entering into any exclusive arrangement with Company for the supply of any
         goods or services, and Contractor and/or its Affiliates may, at their discretion, enter into
         similar master services agreements with other customers.

  2.7.   The parties agree that this Agreement may only be used to obtain work or services related to,
         supporting or associated with the operations of Company and/or its Affiliates in the United
         States, and it shall not be utilized as a means to obtain work or services in any non U.S.
         jurisdictions.


3. PERFORMANCE OF WORK

  3.1.   Contractor shall diligently perform all Work in a skillful and workmanlike manner. Except as
         otherwise specifically provided in the applicable Service Order, Contractor shall provide all
         labor, skills, equipment, machinery, material and supplies necessary for performance of the
         Work and protection of the Work in Progress.

  3.2.   Supplementary drawings, plans, and specifications which, in Company's judgment, may be
         necessary or useful to facilitate the progress of the Work may be furnished by Company.
         Such documents are intended to be complementary of each other, but, should Contractor
         believe there are any discrepancies between such documents or misunderstandings as to the
         meaning of anything contained therein, Contractor shall request an explanation from




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       Company, whose explanation will be final and binding on Contractor. Such Contractor
       request and Company's explanation shall be provided in writing.
3.3.   Contractor shall, at all times, keep copies of all applicable drawings, plans, specifications and
       other applicable documents in readily accessible files at locations where the Work is being
       performed. Prior to completion of the Work, Contractor shall provide Company with copies of
       all relevant documents, including, but not limited to drawings, plans, specifications and copies
       of subcontracts and purchase orders for goods and services provided on a cost reimbursable
       basis. Contractor shall also provide Company with complete contract files for all contracts
       and purchase orders entered into by Contractor on behalf of Company on an "as agent" basis
       prior to completion of the Work.
3.4.   Use of roads at the Site shall be allowed from the public roads to job site for access and
       transportation of Contractor's personnel, materials and equipment. Pipe supports or other
       structures spanning roadways will not be removed or altered to accommodate dimensions of
       equipment or vehicles supplied by Contractor, unless expressly agreed in writing by
       Company in the applicable Service Order. Company will designate the entrance gate(s)
       and/or access routes for Contractor's personnel, materials and equipment.
3.5.   Contractor shall perform all Work with minimum interference with the operations of Company
       and others at the Site. Contractor shall cooperate and coordinate with any other contractors
       performing work at the Site and with Company's own personnel to ensure the safe, efficient
       and timely completion of the Work and the work of such other contractors and Company
       personnel.
3.6.   Contractor shall supply information and documentation to Company in a complete and timely
       manner to keep Company apprised of all material progress and events occurring during the
       course of the Work, including, without limitation, events that may cause delays, claims,
       injuries or changes in cost or schedule.
3.7.   Except in the case of an emergency, Contractor shall not perform Work on the Site except
       during Company's standard working hours without the prior written consent of the Company's
       Representative.
3.8.   Company reserves the right to enter, or to have its other contractors enter, into Contractor's
       work, laydown and storage areas on the Worksite as necessary to perform any Company
       work. Company's partial occupancy shall not constitute acceptance of Contractor's Work or
       be the basis of any claims for interference or additional compensation.
3.9.   With regard to Service Orders which include the supply of goods or equipment (with or
       without the performance of services related thereto), the following additional provisions shall
       apply to the Service Order:
       3.9.1. Contractor acknowledges that the goods and equipment are critical to Company's
              operations and that failure to receive the goods and equipment in a timely manner
              would have a negative impact on such operations as well as Company's obligations to
              third parties. Accordingly, time is of the utmost importance to such Service Orders.
              Prior to finalizing any Service Order, Contractor and Company shall agree on of the
              shipping and delivery dates for such Service Order. After acceptance of the Service
              Order, Contractor shall (i) continuously monitor the performance of the Service Order
              so as to know at all times the planned and actual progress, and to have the earliest
              practicable awareness of matters that could affect the timing of the shipment or
              delivery of the goods and equipment, and (ii) immediately advise the Company



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             Representative in writing if at any time Contractor either (a) anticipates any delay that
             would result in the Contractor failing to meet the shipping/delivery date(s) or (b) is
             unable to meet the specified shipping/delivery date(s). In the case of either (a) or (b)
             above, Contractor shall also advise the Company Representative of the cause of such
             delay or inability. Contractor shall implement in a reasonable time, at its cost, all
             reasonable measures to avoid or end delays, and take all reasonable steps to mitigate
             the effect of delays on performance, shipping or delivery of the goods and equipment,
             which steps shall include advanced planning and contingency planning. Contractor
             shall not give priority to work for its other clients to the detriment of the timely
             shipment or delivery of the goods or equipment. Company reserves the right to
             terminate the Service Order for Contractor's default at any time if specified shipping
             and/or the delivery date(s) are not met or will not be met.
      3.9.2. Contractor shall assure that each shipment contains a packing slip listing contents
             and order number. Company's count will be accepted as final and conclusive on all
             shipments not accompanied by a packing slip.
      3.9.3. No minimum order charges, charges for packing, cartage, insurance or value charges
              by any modes of transportation shall be payable or paid by Company unless expressly
             so specified in the applicable Service Order.
      3.9.4. Contractor shall show all applicable cash discounts for early payment on the
             applicable invoice(s). Discount periods will be computed from the date a complete,
             accurate invoice with all required supporting documentation is actually received by
             Com pany.
      3.9.5. Contractor shall include the Service Order number or other tracking number provided
             by Company and other specified numbers on the bill of lading and shall advise the
             carrier that such numbers must be shown on freight bills. Contractor freight charges
             for Company's account must be supported by a copy of the bill of lading and the
             carrier's freight bill.
      3.9.6. Unless otherwise set forth in the applicable Service Order, all such goods and
             equipment are furnished by Contractor to Company FCA origin (Incoterms 2010).
      3.9.7. Upon Company's request, Contractor will provide training and tutorials (in print,
             electronic and/or video format) for all goods and equipment purchased by Company.
             Additionally, if training materials are available as streaming video over the Internet or
             are available as interactive self-training CDs or PowerPoint slide presentations,
             Contractor shall make them available for unlimited use by Company for internal
             training purposes. All such training materials shall be provided by Contractor to
             Company free of charge, or if available to Contractor only at a cost, then at
             Contractor's actual cost.
             Additionally, Contractor shall make available to Company newsletters, application
             notes and technical bulletins posted on Contractor's internet site. Contractor's service
             guides shall be made available for all goods and equipment purchased by Company.
             All such materials shall be available in electronic and print versions.
     3.9.8. In the event that Company desires to purchase goods or equipment from a distributor
             rather than from Contractor, Contractor agrees to use reasonable efforts to work with
             such distributors so that the distributor can purchase the goods or equipment at the
             same prices made available to Company pursuant to this Agreement.



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          3.9.9. Contractor agrees that it will sell any goods or equipment available to Company
                 pursuant to this Agreement to any of Company's Nested Contractors or EPC
                 Contractors (as defined below) so long as such goods or equipment are purchased to
                 be used at a Company facility by such Nested Contractor or EPC Contractor. For the
                 purposes of this Article 3.9, "Nested Contractor" shall mean a contractor who provides
                 services with respect to any Company facilities on a regular basis, and "EPC
                 Contractor" shall mean a contractor who is providing engineering, procurement and
                 construction services for a project for Company of which the installation of the goods
                 and equipment forms a part. In addition, if such Nested Contractor or EPC Contractor
                 desires to buy goods or equipment from a distributor rather than the Contractor,
                 Contractor shall use reasonable efforts to work with the distributor so that the
                 distributor can purchase the goods or equipment at the same prices made available to
                 Company under this Agreement.
          3.9.10. Contractor shall make dimensional drawings of and certificates for goods and
                equipment purchased by or on behalf of Company available to Company and to any
                third party service providers identified by Company as requiring the information.
          3.9.11. Contractor will provide Company with complete bills of material for all goods,
                equipment, spares and kits purchased by Company.
          3.9.12. Contractor will maintain complete maintenance and repair records for all goods and
                 equipment repaired or serviced in Contractor's factory service center and will make all
                 such records pertaining to the goods or equipment purchased by Company available
                 to Company or its authorized representatives upon request.


4. SUBCONTRACTS
  To the extent a subcontractor has not been pre-approved in the Service Order for a particular item of
  Work, as soon as practical after the effective date of a Service Order, but in any event prior to
  commencement of performance of the Work, Contractor shall notify Company in writing of those
  subcontractors, if any, proposed for performance of various parts of the Work (excluding any
  subcontractors, if any, that were expressly approved by Company in the Service Order). Company
  shall review and approve or reject any such subcontractors, and Contractor shall not employ any
  subcontractors that have not been approved by Company to perform any of the Work under the
  Service Order. Company's approval or rejection of any proposed subcontractor shall not be the basis
  for any Change Order or any claim for additional compensation or schedule adjustment that was not
  pre-approved in the Service Order. In the event the parties have set out in the executed Service
  Order (or subsequently pre-approved in writing) one or more pre-approved subcontractors for specific
  items of Work and Company subsequently disapproves the use of one or more such subcontractors,
  except in the case where disapproval is based upon a negative change in the subcontractor's safety
  profile, Contractor shall be eligible for a Change Order to the extent of the demonstrated impact of
  having to retain an alternate subcontractor; provided however Contractor must make all reasonable
  efforts to minimize such impact.
  Any subcontracting of the Work by Contractor shall not relieve Contractor of full responsibility for all of
  the Work, including the subcontracted portion. Any failure of a subcontractor to perform shall be
  considered for all purposes to be a failure of Contractor to perform, and Contractor shall remain fully
  liable for any defects in Work performed by subcontractors, any breaches of this Agreement or any
  Service Order caused by subcontractors, and any and all damages or injuries caused by
  subcontractors.



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5. USE OF COMPANY MATERIALS AND/OR EQUIPMENT
  If Company loans or furnishes any vehicles, equipment, materials, tools, supplies or other property
  ("Company Equipment") to Contractor or any of its subcontractors for use in performance of Work
  under a Service Order, Contractor agrees:
  5.1.   that such Company Equipment is loaned or furnished by Company without any warranty or
         representation as to condition from the standpoint of safe use or suitability for Contractor's
         contemplated use, and any use by Contractor or its subcontractors shall be at their sole risk
         and liability;
  5.2.   that, upon first taking physical possession of the Company Equipment, Contractor shall have
         care, custody, and control until such Company Equipment is returned to Company's physical
         possession;
  5.3.   that Contractor shall return such Company Equipment at the conclusion of use, or earlier if
         requested by Company, in as good of condition, ordinary wear and tear excepted, as when
         received by Contractor; and
  5.4.   that, notwithstanding anything to the contrary contained in Article 18, Contractor shall be
         liable to the Company for any damage to or loss of such Company Equipment that occurs
         while the Company Equipment is within Contractor's care, custody and control as if such
         Company Equipment were Contractor's property pursuant to Article 18.2.1.


6. WORK SAFETY
  6.1.   Contractor shall be solely responsible for the work safety and industrial hygiene of itself and
         its agents and Employees and its subcontractors and their agents and Employees.
         6.1.1. Contractor shall comply, and shall cause its agents and Employees and its
                subcontractors and their agents and Employees to comply, with all applicable health
                and safety standards, codes and regulations. If such standards, codes and regulations
                do not adequately protect against hazards arising out of the particular Work,
                Contractor shall adopt appropriate additional practices.
         6.1.2. Contractor shall comply, and shall cause its agents and Employees and its
                subcontractors and their agents and Employees to comply, with Company's
                site/location of work specific health, safety and environmental ("HSE") requirements.
                This includes ensuring all Employees of the Contractor Indemnitees have received an
                HSE orientation and all appropriate HSE regulatory training in accordance and in full
                compliance with the requirements of legal and regulatory guidelines prior to arriving at
                the work location. Contractor shall ensure that pre-job safety meetings (including Job
                Safety Analysis) are conducted at the work site.
         6.1.3. Contractor shall be responsible for an ongoing loss prevention safety program during
                 the performance of the Work. Contractor shall indoctrinate each of its agents and
                 Employees, and shall cause its subcontractors to indoctrinate their agents and
                 Employees, involved in the Work in such safety program prior to commencement of
                 performance of the Work. During the performance of the Work, Contractor shall
                 monitor the safety habits of its agents and Employees and of its subcontractors and
                 their agents and Employees, shall conduct frequent safety meetings, and shall
                 perform routine safety inspections of facilities and equipment used in the performance
                 of the Work.



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             6.1.4. Contractor shall comply, and shall cause its agents and Employees and its
                    subcontractors and their agents and Employees to comply, with all other rules,
                    regulations and requirements provided to Contractor by Company, including
                    participation in safety meetings and drills as required by Company, at any location
                    owned or controlled by Company at which the Work is being performed.
             6.1.5. Contractor shall promptly furnish Company with full reports, including all documents
                    filed with or received from any governmental agency, of any environmental incidents,
                    accidents and near miss incidents involving any persons or property it observes at any
                     Company facility or which are associated with the Work and will cooperate with and
                     assist Company in any investigation which Company may elect to undertake.
     6.2.    In connection with any Work to be performed at facilities owned or controlled by Company,
             Contractor agrees, and shall cause its agents and Employees and its subcontractors and
             their agents and Employees to agree, to abide by and also consents to Company's conditions
             and procedures regarding alcohol, drugs and other prohibited items, as stated in Exhibit "C"
             ("Company Prohibition on Certain Substances, Items and Activities and The Drug Free
             Workplace Act"), attached hereto and made a part hereof. CONTRACTOR AGREES TO INDEMNIFY
             EACH OF THE COMPANY INDEMNITEES AGAINST ANY CLAIMS THAT MAY ARISE OUT OF OR WITH
             REGARD TO THE STRICT ENFORCEMENT OF SUCH POLICY WITH RESPECT TO CONTRACTOR'S AGENTS
             OR EMPLOYEES AND/OR THE AGENTS OR EMPLOYEES OF ITS SUBCONTRACTORS, EXCEPT TO THE
             EXTENT SUCH STRICT ENFORCEMENT RESULTS IN A VIOLATION OF LAW.


7.   INSPECTIONS AND TESTS

     Company may make inspections and tests to determine that all Work is being properly performed.
     Such inspections and tests may be conducted at any reasonable time at any mutually convenient
     place, including the plant or yard of Contractor or any of its subcontractors, and Contractor shall
     provide assistance to Company in carrying out such inspections and/or tests. Contractor shall also
     supply, upon request from Company, test reports and material certificates. Upon Company's request,
     Contractor shall also supply copies of any license, permit, bond, report, certificate or other document
     maintained, compiled, or required by governmental authorities or this Agreement or the applicable
     Service Order for or with respect to the performance of the Work.
     Any inspection or lack of inspection by Company shall not in any manner relieve Contractor of any of
     its obligations with respect to the Work.


8.   CHANGES

     8.1.    The scope provisions contained in the Service Order shall define the Work to be performed
             by Contractor as well as the deliverables and other requirements related thereto, and such
             will not be changed, supplemented or modified by the Contractor except in response to a
             Change Order issued in accordance with the terms of this Article 8.
     8.2.    If Company desires to add to, delete from or otherwise modify or adjust the Work to be
             performed by Contractor or any other provision of the Service Order, Company shall issue to
             Contractor a Change Order, in a form to be established by Company, for Contractor's
             consideration. Such Change Order shall be issued in two (2) originals, shall be signed on
             behalf of Company and shall detail all impacts on or modifications of the terms of the Service
             Order resulting from such change including but not limited to rates, compensation, pricing,
             and schedule (as applicable).



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       8.2.1. If Contractor agrees with all the terms of the Change Order, Contractor will sign and
               return to Company one original of the Change Order and shall commence and
               complete performance of the Work in accordance with the terms of the Service Order,
               as modified by the Change Order.
       8.2.2. If Contractor disagrees with any of the terms of the Change Order, Contractor will
               return both originals of the Change Order to Company unsigned along with a
               description and explanation of Contractor's objection, and Company shall proceed as
               provided in Article 8.3. In no event shall Contractor modify the terms of a Change
               Order or sign a Change Order contingent upon any changes or other factors.
8.3.   If Contractor rejects a Change Order, as provided in Article 8.2.2, Company shall either (i)
       withdraw the Change Order; (ii) modify the Change Order to address Contractor's objections
       (or enter into discussions with Contractor regarding such objections) and issue a revised
       Change Order to Contractor in accordance with Article 8.2; or (iii) direct Contractor to
       commence performance of the Work as changed by the Change Order and work with
       Contractor to resolve the dispute regarding the terms of the Change Order.
8.4.   If Company directs Contractor to commence performance of the Work as changed by the
       Change Order, as described in Article 8.3(iii), Contractor shall commence the performance of
       such Work as and when directed by Company and shall diligently perform such Work.
       Company shall adjust the schedule accordingly and shall compensate Contractor for
       performance of such Work in accordance with the compensation provisions in the applicable
       Service Order (if the applicable Service Order is for Work to be performed on a lump sum
       basis, compensation to Contractor for the changes from the Change Order shall be on a time
       and material basis or other reasonable basis adopted by Company pending resolution of the
       dispute), and all other provisions of the Service Order shall remain in full force and effect
       pending resolution of the dispute. Company and Contractor shall cooperate to attempt to
       resolve the dispute, including use of the dispute resolution procedures under Article 31 if
       necessary. Contractor shall continue performance of such Work and shall not cease, slow
       down or otherwise adversely affect the performance of such Work during the pendency of
       any dispute.
8.5.   If, prior to issuing a Change Order pursuant to Article 8.2 hereof, Company desires to obtain
       agreement with or information from Contractor concerning the impact on time, cost and other
       terms of the Service Order of a contemplated change to the Service Order, Company may
       issue a request to Contractor along with details of the contemplated change. Contractor shall
       within ten (10) days after receipt of such request, provide Company in writing with a detailed
       proposal for such contemplated change, including but not limited to the impact on schedule,
       compensation, liability allocation and all other affected provisions of the Service Order. If
       Company agrees with the proposal provided by Contractor, Company shall proceed in
       accordance with the terms of Article 8.2; however Company shall be under no obligation to
       accept the proposal from Contractor or to proceed with the contemplated change.
8.6.   Contractor may request a Change Order if Contractor in good faith believes that (i) a direction
       or instruction received from the Company Representative constitutes or will require a change,
       supplement to or modification of the Work under the Service Order; or (ii) a default by
       Company under a Service Order has caused or will cause the Contractor to perform
       additional work or has caused or will cause an increase in the cost of Contractor's
       performance.




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         8.6.1. In the event of an occurrence which Contractor believes entitle it to a Change Order,
                 Contractor shall give written notice of such occurrence and an explanation of the
                 reason such occurrence should entitle Contractor to a Change Order within five (5)
                 working days after the occurrence becomes known to Contractor or should have in the
                 performance of reasonable due diligence become known to Contractor. Such written
                 notice shall be accompanied by as much detail of the impact of such occurrence as is
                 then available to Contractor, and Contractor shall promptly provide all information
                 regarding such impact as soon as reasonably practicable.
         8.6.2. In response to such notice, Company Representative shall issue a written
                determination that:
         (a) The requested change is rejected on the basis that the direction or instruction from the
             Company Representative does not constitute a change, supplement or modification to
             the Work under the Service Order;
         (b) The requested change is rejected as there was no default on the part of Company or that
             such default did not and will not cause the Contractor to perform additional work and did
             not and will not result in an increased cost of performance; or
         (c) The requested change is accepted.
                In the event of a response under 8.6.2.c, Company shall issue a Change Order in
                accordance with Article 8.2 above. In the event of a response under 8.6.2.a or 8.6.2.b,
                Contractor may issue a written claim within ten (10) days after receipt of Company's
                determination. Notwithstanding a rejection of the change request and/or the filing of a
                claim by Contractor, Contractor shall promptly perform the affected work in
                accordance with Company Representative's instructions with all due diligence and
                without delay.
         8.6.3. Any Contractor request for a Change Order shall not include any additional
                compensation or relief beyond five (5) working days prior to Contractor's written
                notification under Article 8.6.1, and Contractor shall be deemed to have waived any
                claim for compensation or relief for any prior period. Additionally, if Contractor fails to
                give notice of an occurrence for which Contractor is requesting a Change Order within
                the five (5) working day period in Article 8.6.1 or fails to submit a written claim within
                ten (10) days after receipt of Company's determination under Article 8.6.2, Contractor
                shall be deemed to have waived any and all right to any compensation or relief related
                thereto.
  8.7.   Company and Contractor agree that no Change Order shall vitiate or otherwise void the
         applicable Service Order, and each party hereby waives any claim or defense of substantial
         or cardinal change. The Change Order signed by both parties shall address the entire impact
         of the change in the Work, and each party hereby waives any and all claims for additional
         compensation, modification or impact beyond that addressed in the Change Order.
         Specifically, but not by way of limitation, each party hereby waives any cumulative impact
         claims whatsoever.


9. COMPENSATION AND PAYMENT
  9.1.   Lump Sum or Fixed Rate Work




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       9.1.1. Compensation. For satisfactory performance of Work to be performed on a lump sum
               or fixed rate basis, Contractor shall be compensated as provided in the applicable
               Service Order.

              Invoicing. Contractor shall provide invoices for Work performed on a lump sum or
              fixed rate basis in accordance with the timing and requirements provided in the
              applicable Service Order. Unless stated otherwise in the applicable Service Order,
              Contractor shall submit its invoice, in United States dollars, within fifteen (15) days
              after the end of each calendar month for amounts payable for Work performed during
              the previous calendar month.

9.2    Unit Rate or Cost Plus Work
       9.2.1. Compensation. As provided in the applicable Service Order, Contractor shall be
              compensated for satisfactory performance of Work to be performed on a Unit Rate or
              Cost Plus basis in accordance with (i) the rates, prices and/or mark-ups included in
              the Service Order; (ii) the rates, prices and/or mark-ups set forth in Exhibit "B"
              ("Compensation"), attached hereto and incorporated herein by reference; or (iii) the
              rates, prices and/or mark-ups provided in a separate compensation agreement
              executed by the parties. The rates, prices and mark-ups set forth in Exhibit "B" shall
              remain in effect for a period of twelve (12) months after the Effective Date. After such
              twelve (12) month period, either Company or Contractor may request an adjustment in
              the rates, prices and mark-ups in Exhibit "B" by sending written notice to the other
              party in accordance with Article 32. Any adjustments in the rates, prices and mark ups
              must be made by a written amendment to Exhibit "B" signed by both parties, shall take
              effect no sooner than sixty (60) days after the request for adjustment, and shall
              remain in effect for a minimum period of twelve (12) months from the effective date of
              such adjustments.
       9.2.2. Invoicing. Unless otherwise expressly provided in the applicable Service Order,
               Contractor shall submit its invoice, in United States dollars, within fifteen (15) days
               after the end of each calendar month for amounts payable for Work performed during
               the previous calendar month. Invoices shall be submitted in such form, containing
               such reference numbers and information, and accompanied by such certification and
               documentation as Company may request, including, but not limited to:

              •   Name and title of person engaged in performance of the Work and the dates and
                  hours such person was engaged in performance of the Work during the applicable
                  period;

              •   The description and quantity of materials or supplies furnished by Contractor and
                  utilized in the Work;

              •   The dates and hours along with operator and description of equipment or
                  machinery used in performance of the Work;

              •   Delivery ticket(s) signed by Company personnel; and

              •   Supporting third-party invoices.

9.3.   Unless otherwise provided in the applicable Service Order, Company shall pay, or cause to
       be paid, the approved amount of such invoice, within thirty (30) days of Company's receipt of
       a proper invoice together with all required supporting documentation, at the office designated
       for such invoices.



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       If Company disputes any invoice, in whole or in part, Company shall pay the undisputed
       portion of the invoice and shall give Contractor prompt notice of the dispute. Company and
       Contractor shall endeavor to settle and adjust any disputed amount promptly, including by
       resort to the procedures in Article 31, Dispute Resolution, if necessary. If required by
       applicable law or if Company so elects, the parties shall cause a new invoice for the
       undisputed portion to be issued and/or issue credit notes to allow for payment of the
       undisputed portion of the invoice while the dispute over the remaining part is resolved.

9.4.   Company may set-off against payments due Contractor any amount due and owing Company
       from Contractor for any reason.

9.5.   Should Contractor procure from third parties for or on behalf of Company any goods,
       equipment, machinery, materials or supplies, Company shall pay Contractor the actual cost
       of such items, less any cash, volume or other discounts, rebates and/or allowances to which
       Contractor may be entitled. Contractor agrees to furnish Company with copies of the third
       party invoice(s) covering such items as well as an accounting of any discounts, rebates
       and/or allowances related thereto.

9.6.   Any payments made by Company shall not prevent Company from filing Claims or prejudice
       its right to recover the amount of any such Claims, however or whenever they may have
       arisen.

9.7.   Without limiting the type or nature of such Claims, Company may recover any sums paid
       Contractor by mistake of law or fact. Payments shall not be construed as acceptance or
       evidence of approval of Work.

9.8.   ePayables Company has implemented an ePayables system for invoicing purposes. The
       ePayables system requires submission of invoices electronically. Several methods are
       permitted and technical specifications are available from Company upon request. Contractor
       shall elect a permitted method of ePayables invoice submission and submit all invoices
       accordingly.

       Contractor shall invoice using Company's ePayables system in accordance with the following
       requirements:

       a) Contractor Direct Charges
           Contractor Direct Charges shall consist of labor, materials, equipment and expenses
           supplied or incurred by Contractor directly (and not as agent for Company in accordance
           with (ii) below) in performance of the Work. For Contractor Direct Charges allowed by the
           Service Order, Company will provide Contractor with one or more SAP service order
           numbers, each with one or more SAP service order lines corresponding to the pricing
           components of the Service Order.
           Contractor shall prepare and submit detailed invoices electronically referencing the
           applicable SAP service order number(s) and SAP service order line(s). Supporting
           documentation (e.g., timesheets; third party invoices, etc.), as required by the Service
           Order or reasonably requested by Company, shall be scanned and included with the
           ePayables invoice. Contractor shall submit ePayables invoices and associated scanned
           back-up and supporting documentation using the selected ePayables invoice submission
           method.




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            Any sales/use tax that is to be collected from Company and remitted to the proper taxing
            authorities shall be input into the header section of ePayables under the selection titled
            'Tax'. This sales/use tax should not be included in the body of the ePay invoice.

            In the event any change in compensation for any pricing component or item is agreed by
            Company and Contractor, Contractor shall, upon Company's request, include such
            revision in a Company-provided spreadsheet to be used by Company to update internal
            price controls.

         b) Commitments by Contractor as Agent
            Contractor may only procure services or goods as an agent for Company if Contractor is
            expressly authorized to do so in writing either in the Service Order or in a subsequent
            written direction from the Company Representative. If Company authorizes Contractor to
            procure goods and services as agent for Company, Company will provide Contractor with
            a billing reference number for each third party good or service procured by Contractor as
            agent for Company. At least one billing reference number will be provided for each
            vendor/contractor, but multiple billing reference numbers may be provided for any given
            vendor/contractor at the discretion of Company. Contractor shall promptly provide
            Company with copies of the agreements between Contractor and vendors/contractors
            whereby Contractor obtains goods or services as agent for Company.

            Contractor shall prepare and submit invoices for such "as agent" goods and services
            electronically using Company's ePayables system. Invoices shall reference the
            appropriate billing number(s) provided, and shall be detailed at a component level (as
            defined in the electronic submission technical specifications). Back-up documentation, as
            required by the Service Order or reasonably requested by Company, shall be scanned
            and included with the ePayables invoice. Contractor shall submit ePayables invoices and
            associated scanned backup and supporting documentation using the selected ePayables
            invoice submission method.
            Data requirements for the third party goods and services payment requests and technical
            details for the ePayables system are fully explained in technical specifications which will
            be supplied to Contractor upon request.
            In the event any change in compensation for any pricing component or item is agreed by
            Contractor and Company, Contractor shall, upon Company request, include such revision
            in a Company-provided spreadsheet to be used by Company to update internal price
            controls.

         c) Vendor Invoice Status (VIS) System
             Company will provide instructions to Contractor for utilizing Company's Vendor Invoice
             Status (VIS) System for checking the status of invoices and payments.

  9.9.   In addition, Company may, in its sole discretion, grant Contractor direct electronic access to
         Company's SAP system. Such direct access, if granted, shall be dependent on Contractor
         meeting and continuing to meet, all security requirements deemed appropriate by Company.
         Failure by Contractor to meet all such security requirements will result in Contractor being
         denied direct access to Company's SAP system.


10. OWNERSHIP OF WORK PRODUCT AND DEVELOPMENTS




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   10.1.    All copyright, patents, trade secrets, or other intellectual property rights associated with any
            Work Product shall belong exclusively to Company as of the date of their creation and shall,
            to the extent possible, be considered a "work made for hire" within the meaning of Title 17 of
            the United States Code. To the extent the Work Product may not be considered work made
            for hire for Company, Contractor agrees to assign, and hereby assigns at the time of creation
            of the Work Product, without any requirement of further consideration, any right, title, or
            interest Contractor may have in such Work Product. Upon request of Company, Contractor
            shall take such further actions, including execution and delivery of declarations, instruments
            of conveyance, and the like for any applications or registrations Company may, at its
            expense, apply for and as may be appropriate to give full and proper effect to such
            assignments.
   10.2. Contractor agrees that any and all ideas, concepts, techniques, processes, improvements
          and inventions, whether patentable or not, that are conceived, created or first reduced to
          practice in connection with or arising out of the performance of Work under a Service Order,
          shall be the sole and exclusive property of Company. Contractor further agrees that any and
          all ideas, improvements and inventions, whether patentable or not, that are based upon
          information provided to Contractor by Company and that are conceived, created or first
          reduced to practice during performance under a Service Order or within one (1) year after
          completion of the applicable Service Order shall be the sole and exclusive property of
          Company. Contractor shall promptly provide to Company a full written disclosure of any such
          ideas, improvements and inventions. Both during the term of this Agreement and after its
          termination or expiration, Contractor agrees to execute all papers, including documents
          related to domestic and foreign patent applications and invention assignments, and otherwise
          assist Company as reasonably requested to perfect in Company the rights, title and other
          interests in such ideas, improvements and inventions, as well as to obtain and enforce
          patents derived from such applications.
   10.3.    Notwithstanding the provisions of Articles 10.1 and 10.2 above, Contractor shall (as between
            Company and Contractor) retain ownership of all proprietary intellectual property rights
            owned by Contractor and developed by it prior to the effective date of the Service Order in
            which such property is employed and outside of the performance of any work for Company or
            its Affiliates, and nothing in this Article 10 shall result in a transfer of ownership of any such
            proprietary intellectual property rights. Contractor hereby grants to Company and its Affiliates
            an irrevocable, perpetual and royalty-free license to use, disclose, modify and copy such
            Contractor proprietary intellectual property rights for the purpose of (i) utilizing the Work
            Product; (ii) constructing, fabricating, operating and maintaining any facilities or wells that
            result from the Work performed by Contractor; (iii) training operators; and (iv) repairing,
            replacing, expanding, completing or modifying any part of the Work or any facility or well that
            results from the Work. Such license shall include the right for Company (i) to assign its rights,
            without consent, to any purchaser of an interest in all of part of any facility or well related to
            the Work; and (ii) to sublicense to or any of its Affiliates.
   10.4.    All of Contractor's subcontracts shall contain provisions consistent with this Article 10.


11. TAXES
   11.1.    Definition of Taxes
            For the purposes of this Article 11, "taxes" shall mean any and all applicable duties, imposts,
            taxes, fees, licenses and other similar charges of every kind and all penalties or interest



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        thereon which may be assessed or levied on Contractor or its subcontractors or their
        respective Employees or agents, arising out of or in connection with any Service Order
        hereunder, wherever and whenever levied or assessed. The term "taxes" also includes any
        withholding which Company may be required to withhold from any payments to Contractor.
11.2.   Reporting Obligations
        Contractor shall be responsible for the reporting, filing and payment of any income, profits,
        capital gains, business, gross receipts, excise, payroll, unemployment, medical, social or
        other taxes imposed directly or indirectly on Contractor or its subcontractors or their
        respective Employees or agents as a result of the performance of the Work under any
        Service Order, AND CONTRACTOR SHALL INDEMNIFY EACH OF THE COMPANY INDEMNITEES FROM
        AND AGAINST ANY AND ALL CLAIMS AND FOR ALL SUCH TAXES WHICH MAY BE ASSESSED OR LEVIED
        DIRECTLY OR INDIRECTLY AGAINST ANY OF THE COMPANY INDEMNITEES OR AGAINST ANY OF THE
        CONTRACTOR INDEMNITEES OR THEIR RESPECTIVE EMPLOYEES OR AGENTS BY ANY TAXING
        AUTHORITIES CLAIMING JURISDICTION OVER THIS AGREEMENT OR ANY SERVICE ORDER.            Except as
        set forth in Article 11.4 below, all applicable taxes and social charges, including withholding
        taxes, for which Contractor is liable under this Article 11.2 or Article 11.3 are included in the
        rates, prices and mark-ups applicable to the Service Order, and Company shall have no
        responsibility to separately reimburse Contractor for any such taxes or social charges.
11.3. Company's Right to Withhold for Taxes
        Company, without any liability on the part of Company, shall withhold from sums otherwise
        due Contractor any taxes or amounts required by applicable law to be withheld and shall pay
        the same when due to the appropriate taxing authorities. Company shall provide Contractor
        with available governmental receipts evidencing payment of taxes withheld. Should
        Contractor claim exemption from withholding, Contractor shall provide Company with all
        evidence as may be required by applicable law to substantiate that Company is not required
        to withhold the applicable amounts from payments to Contractor. Taxes withheld pursuant to
        this Article 11.3 shall be for Contractor's account only, and Company shall have no obligation
        to reimburse Contractor for any such taxes withheld.
11.4. Pricing and Sales and Use Taxes
        Unless otherwise allowed or required by applicable law or agreed to by Company and
        Contractor invoiced compensation payable to Contractor shall be exclusive of sales, use,
        excise, value added, goods and services, and other similar taxes, where applicable. Any such
        taxes shall be shown separately on the invoice, and Company shall pay such amounts to
        Contractor, in addition to the compensation payable. Contractor shall make all reasonable
        efforts to minimize its liability to pay and to recover from Company any sales, use, excise,
        value added, goods and services, and other similar taxes which may be assessed on
        compensation or payments under any Service Order, and Contractor shall cooperate fully
        with Company in any reasonable and lawful effort by Company to reduce or eliminate any
        such taxes for which Company or Contractor may be liable under the Service Order. If
        Company is authorized to issue a sales/use tax exemption or other certificate in lieu of paying
        sales/use taxes, Company will provide to Contractor such properly completed certificate, and
        Contractor will accept in good faith.
11.5. If the Work is performed on a lump sum basis (e.g. not as part of a separated or time and
         materials contract), the lump sum price shall include all sales, use, excise, value added,
         goods and services, and other similar taxes incurred directly by Contractor arising from the
         performance of the Work. In any event, applicable taxes on all leases and rentals, services,


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          construction materials, and other property furnished by Contractor shall be paid by Contractor
          either to its suppliers or directly to the state and local collection agencies.


12. COMPLIANCE WITH LAWS, RULES AND REGULATIONS

  12.1.   Contractor shall comply, and shall cause its subcontractors to comply, with all federal, state
          and local laws, rules and regulations applicable to the Work. CONTRACTOR SHALL INDEMNIFY
          EACH OF THE COMPANY INDEMNITEES, AND THEIR RESPECTIVE EMPLOYEES, OFFICERS AND
          DIRECTORS, FROM AND AGAINST ANY CLAIMS ARISING OUT OF FAILURE BY CONTRACTOR, ITS
          SUBCONTRACTORS OR THEIR RESPECTIVE AGENTS, REPRESENTATIVES OR EMPLOYEES TO COMPLY
          WITH ANY SUCH LAW, RULE OR REGULATION.

  12.2.   By execution of this Agreement, Contractor specifically acknowledges and certifies that, to
          the extent required by law, rule or regulation, Contractor shall comply, and shall require its
          subcontractors to comply, with the following:
          12.2.1. The Immigration Reform and Control Act of 1986 and related regulations;

          12.2.2. 48 C.F.R. 52.203-13, Contractor Code of Business and Ethics Conduct (APR
                   2010);

          12.2.3. 48 C.F.R. 52.203-7, Anti-Kickback Procedures (OCT 2010);

          12.2.4. 48 C.F.R. 52.219-8, Utilization of Small Business Concerns (JUL 2013);

          12.2.5. 48 C.F.R. 52.219-9, Small Business Subcontracting Plans (JUL 2013);

          12.2.6. 48 C.F.R. 52.222-21, Prohibition of Segregated Facilities (FEB 1999);

          12.2.7. 48 C.F.R. 52.222-25, Affirmative Action Compliance (APR 1984);

          12.2.8. 48 C.F.R. 52.222-26, Equal Opportunity (MAR 2007);

          12.2.9. 48 C.F.R. 52.222-35, Equal Opportunity for Veterans (SEP 2010);

          12.2.10. 48 C.F.R. 52.222-35, Affirmative Action for Workers with Disabilities (OCT 2010);

          12.2.11. 48 C.F.R. 52.222-37, Employment Reports on Veterans (SEP 2010);

          12.2.12. 48 C.F.R. 52.222-40, Notification of Employee Rights Under the National Labor
                   Relations Act (DEC 2010);

          12.2.13. The Fair Labor Standards Act of 1938; and

          12.2.14. All relevant amendments of such laws, rules and regulations.

  12.3.   Contractor shall also comply, and shall take reasonable steps to ensure that each of its
          subcontractors shall comply, with all applicable laws and regulations pertaining to human
          rights, anti-slavery and anti-human trafficking including, but not limited to, the California
          Transparency in Supply Chains Act and the UK Modern Slavery Act 2015. Contractor shall
          implement reasonable steps to ensure that there is no human rights violation, slavery or
          human trafficking in its supply chains. In support of the foregoing, Contractor warrants and
          represents that, at the Effective Date of this Agreement, neither Contractor nor any
          Contractor Parties:
          a) has been convicted of any offense involving human rights violations, slavery or human
              trafficking; and




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          b) has been or is the subject of any investigation, inquiry or enforcement proceedings by
              any governmental, administrative or regulatory body regarding any offense or alleged
              offense of or in connection with human rights violations, slavery or human trafficking.
  12.4. With regard to any Work performed at a facility owned or controlled by Company or any of its
         Affiliates or Coventurers, Contractor shall comply with the provisions provided in Exhibit "D"
         ("Pollution/Waste Disposal and Cleanup of Worksite"), attached hereto and made a part
         hereof.
  12.5.   By execution of this Agreement, Contractor acknowledges receipt of the program in Exhibit
          "E" ("Hazard Communication Program"), attached hereto and made a part hereof, and agrees
          to comply, and to cause its subcontractors to comply, with the conditions set forth in the
          program.
  12.6.   Contractor shall, at its cost, remove and properly dispose of any wreck, debris, surplus
          material not owned by Company, equipment, tools or other items which Contractor or its
          subcontractors bring to the Worksite.


13. MINORITY OWNED AND WOMEN OWNED SUPPLIERS
  13.1.   It is Company's policy to support the inclusion of MBEs and WBEs in its procurement
          processes. Contractor's selection processes for procurement of third party goods, equipment
          and services utilized in connection with the Work shall therefore include consideration of
          qualified MBEs and WBEs where possible, and Contractor shall maximize use of MBEs and
          WBEs, where commercially competitive, in performance of the Work.
  13.2.   Contractor shall report quarterly to Company the dollar amounts paid by Contractor directly
          and indirectly to MBE and WBE subcontractors and suppliers for goods, equipment and
          services used in the performance of the Work.


14. EXPORT CONTROL COMPLIANCE
  14.1. With respect to the goods and materials subject to this Agreement or Service Order,
         Contractor shall comply, and shall require that the Contractor Parties comply with all
         applicable laws, regulations, rules and requirements relating to sanctions and export and re-
         export control (together, "Export and Sanctions Law"). Nothing shall be shipped to,
         transshipped through, or sourced from, either directly or indirectly, any country, company or
         person or for any end-use that is prohibited under Export and Sanctions Law. If Contractor or
         one or more of the Contractor Parties are or become identified on any export denial, blocked,
         debarred, Specially Designated National, or other similar list maintained by the United States
         or other applicable jurisdiction, the Company may terminate this Agreement or Service Order
         forthwith upon written notice to the other at any time. Each of Company and Contractor shall
         be excused from performance of any obligation under this Agreement or Service Order to the
         extent that such performance is prohibited under Export and Sanctions Law.
  14.2.   Contractor shall be responsible for obtaining any authorizations or licenses required under
          applicable export control regimes, including, without limitation, licenses required for the
          transfer of any regulated technology to nationals of certain countries. Contractor shall timely
          (i) identify in writing to Company those items, technology, software or services for which an
          export authorization is required and (ii) provide in writing to Company export control
          classification and licensing information necessary for export documents (e.g., Export Control
          Classification Numbers (ECCN) for items originated from the United States). Contractor



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           agrees to keep records of its export and re-export related activities for a minimum of five
           years or such period as required by all relevant laws, whichever is greater, and shall make
           those records available to Company upon request.

   14.3.   Nothing in this Agreement is intended to be, or shall be construed as, an agreement by either
           Contractor or Company to take or refrain from taking any action that is or would be prohibited
           or penalized under U.S. anti-boycott laws or regulations.

   14.4.   CONTRACTOR SHALL INDEMNIFY EACH OF THE COMPANY, COMPANY'S AFFILIATES, COVENTURERS,
           AGENTS, EMPLOYEES, OFFICERS AND DIRECTORS FROM ANY CLAIMS THAT MAY ARISE AS A RESULT
           OF BREACH BY CONTRACTOR OR ANY OF THE CONTRACTOR PARTIES OF THE OBLIGATIONS UNDER
           THIS ARTICLE.


15. ETHICS AND CONFLICTS OF INTEREST

   Contractor shall not, and Contractor shall require that Contractor Parties shall not, directly or
   indirectly, pay salaries, commissions, or fees, or make payments or rebates to Employees or officers
   of Company, nor favor Employees or officers of Company or designees of such Employees or
   officers, with gifts or entertainment of unreasonable cost or value, or with services or goods sold at
   less than full market value, nor enter into business arrangements with Employees or officers of the
   Company, unless such Employees or officers are acting as representatives of the Company.


16. ANTI-BRIBERY; FOREIGN CORRUPT PRACTICES ACT

   16.1.   Contractor represents and warrants that it shall comply with and has required or will require
           the Contractor Parties to comply with all applicable anti-bribery laws and anti-money
           laundering, rules, and regulations of the United States, European Union or any member state,
           the Republic of Singapore, and any other similar laws, in all applicable jurisdictions. These
           laws include, without limitation, the currently effective or successor versions of the U.S.
           Foreign Corrupt Practices Act; the UK Bribery Act 2010; the UK Money Laundering
           Regulations 2007; the UK Anti-Terrorism, Crime, and Security Act 2001; the Proceeds of
           Crime Act 2002; and the Singapore Penal Code.

   16.2.   If Company reasonably believes that Contractor or Contractor Parties has or will engage in
           improper conduct in breach of this Article 16, Company may, at its sole discretion, suspend
           any further performance by Contractor in accordance with the terms in Article 25 and withhold
           further payment to Contractor or terminate this Agreement and/or any Service Orders in
           accordance with the terms in Article 24 with immediate effect.

   16.3.   CONTRACTOR SHALL INDEMNIFY EACH OF THE COMPANY, COMPANY'S AFFILIATES, COVENTURERS,
           AGENTS, EMPLOYEES, OFFICERS AND DIRECTORS FROM ANY CLAIMS THAT MAY ARISE AS A RESULT
           OF BREACH BY CONTRACTOR OR ANY OF THE CONTRACTOR PARTIES OF THE OBLIGATIONS UNDER
           THIS ARTICLE.


17. TITLE AND RISK OF LOSS

   17.1.   Title
           17.1.1. Clear Title. Contractor warrants and guarantees that legal title to and ownership of
                  any goods, materials or equipment supplied by Contractor and all other tangible Work
                  shall be free and clear of any and all liens, claims, security interests or other
                  encumbrances when title thereto passes to Company.



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        17.1.2. Transfer of Title (other than Work Product). Title to all or any portion of goods,
               materials and equipment to be supplied by Contractor and to all other Work (except
               Work Product) shall pass to Company upon the earlier to occur of (i) identification of
               goods, materials, equipment or components to the relevant Service Order; (ii) any
               payment by or on behalf of Company therefore; (iii) tender of goods, materials,
               equipment, or other Work to the applicable transportation provider for delivery in
               accordance with the terms of the Service Order; or (iv) incorporation of materials,
               equipment, or other Work into Company's facility (or, in the case of Work being
               performed at an off-site fabrication facility, upon incorporation into such fabricated
               portion). Transfer of title shall be without prejudice to Company's right to reject
               defective Work or any other right or obligation in this Agreement or the applicable
               Service Order.
               Contractor shall clearly identify such goods, materials, equipment or Work as the
               property of Company by visibly marking or tagging in a manner reasonably acceptable
               to Company, and Contractor shall, to the extent possible, segregate such goods,
               materials, equipment and other Work from materials, work, goods and equipment
               owned by Contractor or by other third parties. Company shall have the right, at
               Company's option, to inspect and verify that said goods, materials, equipment and
               other Work have been properly identified as Company's property and segregated as
               required by Company.
        17.1.3. Title to Work Product. Title to Work Product shall be as set forth in Article 10.
17.2.   Risk of Loss
        17.2.1. Notwithstanding passage of title as provided in Article 17.1 but subject to Article
               17.2.2 below, Company shall bear the risk of physical damage or loss to the Work In
               Progress. In the event of physical damage or loss to Work In Progress, and if and to
               the extent Company decides to repair or replace such Work In Progress using
               Contractor, Company shall issue a Change Order to Contractor giving instructions for
               and authorizing the repair or replacement of all or a portion of the damaged or lost
               Work In Progress. Contractor shall commence such repair or replacement
               immediately upon receipt of such Change Order and, subject to Article 17.2.2,
               Company shall compensate Contractor for such repair or replacement at Contractor's
               actual cost. Such compensation shall include the cost of necessary tear out and/or
               removal of damaged items as well as actual increases in applicable indirect and
               overhead costs.
        17.2.2. Contractor shall reimburse Company for any physical damage or loss to Work In
               Progress, whether or not Company elects to have Contractor repair or replace such
               Work In Progress, to the extent such physical damage or loss results from or is
               caused by the sole or concurrent negligence, breach of contract or other legal fault of
               Contractor, any of its subcontractors or their respective Employees or officers,
               provided that such obligation to reimburse Company shall not exceed One Million
               United States dollars (US $1,000,000) per occurrence.
        17.2.3. The schedule for performance of Work affected by any such physical damage or loss
                shall only be extended if the physical damage or loss to Work In Progress did not
                result from or was not caused by the sole or concurrent negligence, or breach of
                contract or other legal fault of Contractor or its subcontractors or their respective




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                  Employees or officers. Any extension shall be addressed in the Change Order
                  described in Article 17.2.1 above.

           17.2.4. By way of clarification and notwithstanding the passage of title as provided in Article
                  17.1, any goods, equipment or materials supplied or to be supplied by Contractor for
                  incorporation into the Work shall not be considered Work In Progress pursuant to this
                  Article 17.2 and shall be considered to be Contractor's property for purposes of Article
                  18 until the time such goods, equipment or materials pass the ship's rail of the vessel
                  for delivery to the Worksite or are otherwise loaded on means of conveyance to the
                  Worksite, whichever is earlier.

           17.2.5. This Article 17.2 shall not be interpreted to relieve Contractor of any of its other
                  obligations or liabilities under the Service Order, including, but not limited to, its
                  obligations with respect to defective Work and required corrective action as per Article
                  23 hereof.


18. RISK STRUCTURE

   18.1.   Personnel

           18.1.1. PERSONNEL OF COMPANY. COMPANY SHALL INDEMNIFY EACH OF THE CONTRACTOR
                  INDEMNITEES FROM AND AGAINST ANY AND ALL CLAIMS ARISING OUT OF OR RELATED IN ANY
                  WAY TO PERSONAL INJURY OF THE EMPLOYEES OR OFFICERS OF THE COMPANY
                  INDEMNITEES ARISING OUT OF OR OCCURRING IN CONNECTION WITH A SERVICE ORDER,
                  REGARDLESS OF THE TIMING OR NATURE OR STYLE OF SUCH CLAIMS AND REGARDLESS OF
                  THE IDENTITY OF THE CLAIMANT INCLUDING, BUT NOT LIMITED TO, THE EMPLOYEE OR
                  OFFICER HIMSELF AND THEIR RESPECTIVE REPRESENTATIVES, AGENTS, HEIRS,
                  BENEFICIARIES, ASSIGNS AND FAMILY MEMBERS.

           18.1.2. PERSONNEL OF CONTRACTOR AND SUBCONTRACTORS. CONTRACTOR SHALL INDEMNIFY
                  EACH OF THE COMPANY INDEMNITEES FROM AND AGAINST ANY AND ALL CLAIMS ARISING
                  OUT OF OR RELATED IN ANY WAY TO PERSONAL INJURY OF THE EMPLOYEES OR OFFICERS
                  OF THE CONTRACTOR INDEMNITEES ARISING OUT OF OR OCCURRING IN CONNECTION WITH A
                  SERVICE ORDER, REGARDLESS OF THE TIMING OR NATURE OR STYLE OF SUCH CLAIMS AND
                  REGARDLESS OF THE IDENTITY OF THE CLAIMANT INCLUDING, BUT NOT LIMITED TO, THE
                  EMPLOYEE OR OFFICER HIMSELF AND THEIR RESPECTIVE REPRESENTATIVES, AGENTS,
                  HEIRS, BENEFICIARIES, ASSIGNS AND FAMILY MEMBERS.

           18.1.3. Limitation on Indemnities Relating to Employees

                  The indemnification obligations of a party under this Article 18.1 above for Claims
                  arising out of any single occurrence shall be limited to an aggregate of Ten Million
                  United States dollars (US $10,000,000) for all injuries or deaths arising out of that
                  occurrence. For any costs, expenses or costs above such amount, the parties shall
                  rely upon such rights and remedies they may have under applicable law.

                  If, during the course of defending a Claim or Claims under this Article 18.1, the
                  indemnifying party believes its potential liability under such indemnification obligation
                  is likely to exceed Ten Million United States dollars (US $10,000,000) for all of such
                  Claims arising out of a single occurrence, the indemnifying party shall have the option
                  of notifying the party being indemnified that it will unconditionally agree to pay the
                  party being indemnified the first $10,000,000 arising out of or related to such Claims,
                  less any amounts already paid by the indemnifying party in connection with such



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               Claims (all of which will be credited against the $10,000,000 maximum liability). The
               indemnifying party shall then transfer the defense of the pending suits and Claims to
               the other party and shall cooperate in arranging for their orderly transition.

18.2.   Property

        18.2.1. PROPERTY OF CONTRACTOR. CONTRACTOR HEREBY RELEASES EACH OF THE COMPANY
               INDEMNITEES FROM AND WAIVES ANY AND ALL CLAIMS AND RIGHTS AGAINST THE COMPANY
               INDEMNITEES ARISING OUT OF OR RELATED IN ANY WAY TO PHYSICAL DAMAGE OR LOSS TO
               CONTRACTOR'S PROPERTY (INCLUDING BUT NOT LIMITED TO CONTRACTOR'S
               CONSTRUCTION EQUIPMENT AND ANY MATERIALS OR EQUIPMENT SUPPLIED OR TO BE
               SUPPLIED BY CONTRACTOR FOR INCORPORATION INTO THE WORK UNTIL SUCH MATERIALS
               OR EQUIPMENT BECOME THE RESPONSIBILITY OF COMPANY AS PROVIDED IN ARTICLE 17.2),
               INCLUDING ENVIRONMENTAL CONTAMINATION OF SUCH PROPERTY, ARISING OUT OF OR
               OCCURRING IN CONNECTION WITH A SERVICE ORDER.

        18.2.2 PROPERTY OF CONTRACTOR'S EMPLOYEES AND SUBCONTRACTORS. CONTRACTOR SHALL
               BE LIABLE FOR AND SHALL INDEMNIFY EACH OF THE COMPANY INDEMNITEES FROM AND
               AGAINST ANY AND ALL CLAIMS ARISING OUT OF OR RELATED IN ANY WAY TO PHYSICAL
               DAMAGE OR LOSS TO THE PROPERTY OF CONTRACTOR'S SUBCONTRACTORS (INCLUDING
               BUT NOT LIMITED TO SUCH SUBCONTRACTORS' CONSTRUCTION EQUIPMENT AND ANY
               MATERIALS OR EQUIPMENT SUPPLIED OR TO BE SUPPLIED FOR INCORPORATION INTO THE
               WORK UNTIL SUCH MATERIALS OR EQUIPMENT BECOME THE RESPONSIBILITY OF COMPANY
               AS PROVIDED IN ARTICLE 17.2) OR THE PROPERTY OF SUCH SUBCONTRACTORS' EMPLOYEES
               OR OFFICERS OR OF CONTRACTOR'S EMPLOYEES OR OFFICERS, INCLUDING
               ENVIRONMENTAL CONTAMINATION OF SUCH PROPERTY, ARISING OUT OF OR OCCURRING IN
               CONNECTION WITH A SERVICE ORDER.

        18.2.3 PROPERTY OF COMPANY. CONTRACTOR SHALL BE LIABLE FOR AND SHALL INDEMNIFY THE
               COMPANY FROM AND AGAINST PHYSICAL DAMAGE OR LOSS TO THE PROPERTY OF COMPANY
               (FOR CLARITY, THIS SHALL NOT INCLUDE ANY WORK IN PROGRESS OR ANY MATERIALS OR
               EQUIPMENT SUPPLIED OR TO BE SUPPLIED BY CONTRACTOR FOR INCORPORATION INTO THE
               WORK), INCLUDING ENVIRONMENTAL CONTAMINATION OF SUCH PROPERTY, ARISING OUT OF
               OR OCCURRING IN CONNECTION WITH A SERVICE ORDER, PROVIDED THAT SUCH
               INDEMNIFICATION OBLIGATION UNDER THIS ARTICLE 18.2.3 SHALL ONLY APPLY TO THE
               EXTENT SUCH PHYSICAL DAMAGE, LOSS OR CONTAMINATION RESULTS FROM OR IS CAUSED
               BY THE SOLE OR CONCURRENT NEGLIGENCE, BREACH OF CONTRACT OR OTHER LEGAL
               FAULT OF ANY OF THE CONTRACTOR INDEMNITEES OR THEIR RESPECTIVE EMPLOYEES,
               OFFICERS OR AGENTS, AND, FURTHER PROVIDED, THAT CONTRACTOR'S INDEMNIFICATION
               OBLIGATION UNDER THIS ARTICLE 18.2.3 SHALL BE LIMITED TO ONE MILLION UNITED STATES
               DOLLARS (US $1,000,000) PER OCCURRENCE. COMPANY HEREBY RELEASES CONTRACTOR
               FROM AND WAIVES ANY AND ALL CLAIMS AND RIGHTS AGAINST CONTRACTOR ARISING OUT
               OR RELATED IN ANY WAY TO SUCH PHYSICAL DAMAGE OR LOSS TO THE PROPERTY OF
               COMPANY (FOR CLARITY, THIS SHALL NOT INCLUDE ANY WORK IN PROGRESS OR ANY
               MATERIALS OR EQUIPMENT SUPPLIED OR TO BE SUPPLIED BY CONTRACTOR FOR
               INCORPORATION INTO THE WORK), INCLUDING ENVIRONMENTAL CONTAMINATION OF SUCH
               PROPERTY, IN EXCESS OF ONE MILLION UNITED STATES DOLLARS (US $1,000,000) PER
               OCCURRENCE.

18.3.   Pollution




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        18.3.1. IN ADDITION TO ITS OBLIGATIONS AND LIABILITIES SET FORTH IN ARTICLES 18.1 AND 18.2,
               CONTRACTOR SHALL INDEMNIFY EACH OF THE COMPANY INDEMNITEES FROM AND AGAINST
               ANY AND ALL CLAIMS FROM THIRD PARTIES (PERSONS OTHER THAN THE COMPANY
               INDEMNITEES, THE CONTRACTOR INDEMNITEES AND THEIR RESPECTIVE EMPLOYEES OR
               OFFICERS) ARISING OUT OF OR RELATED TO ACTUAL OR ALLEGED POLLUTION OR
               CONTAMINATION (INCLUDING CONTROL, CONTAINMENT, CLEAN-UP AND REMOVAL) FROM
               SUBSTANCES BROUGHT ONTO THE WORKSITE BY ANY OF THE CONTRACTOR INDEMNITEES.

        18.3.2. COMPANY SHALL BE SOLELY RESPONSIBLE FOR COMPANY'S PRE-EXISTING
               CONTAMINATION. ALL ROUTINE HANDLING, CONTAINING, TRANSPORTING OR DISPOSING OF
               COMPANY'S PRE-EXISTING CONTAMINATION SHALL BE DONE BY COMPANY OR THIRD
               PARTIES AT COMPANY'S REQUEST. CONTRACTOR SHALL IMMEDIATELY STOP WORK IF
               CONTRACTOR OR ITS SUBCONTRACTORS ENCOUNTER COMPANY'S PRE-EXISTING
               CONTAMINATION IF CONTINUING THE WORK COULD SUBJECT ANY PERSONS, PROPERTY OR
               THE ENVIRONMENT TO UNDUE RISK OF EXPOSURE OR DAMAGE. CONTRACTOR SHALL ONLY
               STOP THE WORK TO THE EXTENT AFFECTED BY THE COMPANY'S PRE-EXISTING
               CONTAMINATION AND WILL PROMPTLY INFORM COMPANY OF SUCH CIRCUMSTANCES AND
               EXERCISE DUE DILIGENCE TO COOPERATE WITH COMPANY TO DETERMINE HOW AND WHEN
               CONTRACTOR AND ITS SUBCONTRACTORS MAY SAFELY RESUME ANY STOPPED WORK.

18.4. Consequential Damages
NEITHER PARTY SHALL BE LIABLE TO THE OTHER FOR LOSS OF ANTICIPATED PROFITS OR FOR ANY SPECIAL,
INDIRECT, OR CONSEQUENTIAL DAMAGES RESULTING FROM OR ARISING OUT OF OR OCCURRING IN
CONNECTION WITH THIS AGREEMENT, ANY SERVICE ORDER AND/OR PERFORMANCE UNDER THIS
AGREEMENT OR ANY SUCH SERVICE ORDER, HOWEVER SAME MAY BE CAUSED, PROVIDED THAT THE
FOREGOING SHALL NOT APPLY TO ANY AMOUNTS PAYABLE AS LIQUIDATED DAMAGES, AS SET FORTH IN A
SERVICE ORDER (IF ANY).

18.5.   General
        18.5.1. Applicability. EXCEPT AND TO THE EXTENT EXPRESSLY PROVIDED OTHERWISE IN THIS
               ARTICLE 18, ANY INDEMNIFICATION, WAIVER, RELEASE, DEFENSE AND/OR DISCLAIMER
               GRANTED IN THIS ARTICLE 18 SHALL APPLY:

               TO ANY LOSS, DAMAGE, PERSONAL INJURY, POLLUTION OR CONSEQUENTIAL LOSS OR
               DAMAGE WHICH OCCURS OR IS CAUSED DURING THE PERFORMANCE OF THE WORK UNDER
               ANY SERVICE ORDER (WHETHER DIRECTLY OR INDIRECTLY IN RELATION THERETO) OR WHICH
               OCCURS GOING TO OR FROM THE WORK, OR WHICH OCCURS AT ANY PLACE WHERE
               PERSONNEL OR PROPERTY OF THE COMPANY INDEMNITEES OR THE CONTRACTOR
               INDEMNITEES ARE LOCATED BY REASON OF THIS AGREEMENT OR ANY SERVICE ORDER;

               EVEN IF THE LOSS, DAMAGE, PERSONAL INJURY, POLLUTION OR CONSEQUENTIAL LOSS OR
               DAMAGE IS CAUSED BY OR RESULTS FROM BREACH OF WARRANTY, CONDITION OF ANY
               PREMISES OR TRANSPORT TO OR FROM SUCH PREMISES, IMPERFECTION OF MATERIALS,
               UNSEAWORTHINESS OF ANY VESSEL, OR THE SOLE OR CONCURRENT OR ACTIVE OR PASSIVE
               NEGLIGENCE OR STRICT LIABILITY OF THE INDEMNIFIED PARTY, AND

               WHETHER THE CLAIM IS BASED UPON COMMON LAW, CIVIL LAW, MARITIME LAW, STATUTE OR
               CONTRACTUAL OBLIGATIONS BETWEEN THE INDEMNIFIED PARTY AND A THIRD PARTY.

        18.5.2. Subcontracting. In the event Contractor subcontracts any of the Work, such
              subcontracts shall contain waivers of subrogation and indemnification, defense,
              release and hold harmless, and consequential damage provisions equivalent to those



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                  set forth in this Article 18 and/or Article 19 whereby said subcontractors undertake the
                  same obligations and duties for benefit of the Company Indemnitees as does
                  Contractor. Unless such subcontracts contain such equivalent provisions, the
                  personnel and property of the subcontractor shall be deemed, for purposes of this
                  Article 18 and Article 19, to be the personnel and property of Contractor. Additionally,
                  in the event subcontracts contain waivers of subrogation and/or indemnification,
                  defense, release and hold harmless provisions in favor of or for the benefit of the
                  Company Indemnitees, Contractor shall take steps as may be requested by Company
                  to enforce such provisions on behalf of the Company Indemnitees.
           18.5.3. Company and Contractor. Solely for the purposes of the releases, waivers and
                  indemnities afforded to the Company Indemnitees in this Agreement and the
                  subrogation waivers afforded to the Company Indemnitees in Article 19, the Company
                  Indemnitees shall include the members' respective shareholders, directors, officers,
                  Employees, representatives and insurers. Solely for the purposes of the releases,
                  waivers and indemnities afforded to the Contractor Indemnitees in this Agreement, the
                  Contractor Indemnitees shall include the members' respective shareholders, directors,
                  officers, Employees, representatives and insurers.
           18.5.4. Enforceability of Provisions. The parties agree that if any provision contained in this
                  Article 18 in favor of one of the parties is determined to be void or unenforceable, in
                  whole or in part, or is adjusted in accordance with other provisions of this Agreement
                  or by actions of a court having proper jurisdiction, the similar provision in favor of the
                  other party shall be rendered void or unenforceable or shall be adjusted to the same
                  degree.
           18.5.5. Not Affect Other Obligations. Contractor's obligations under this Article 18 are not
                  intended and shall not reduce, terminate, supersede, or otherwise affect Contractor's
                  obligations pursuant to other provisions of this Agreement including, but not limited to,
                  Contractor's obligations pursuant to Article 17 and Article 23 of this Agreement.
           18.5.6. No Limitation. The obligations under this Article 18 are independent of and in addition
                   to any other provisions of this Agreement including, but not limited to, the
                   requirements of Article 19 hereof. The obligations under this Article 18 shall not be
                   prejudiced, reduced or limited by any insurance coverage that Contractor is required
                   to maintain pursuant to Article 19, by operation of law or otherwise, or by any
                   insurance that the Contractor actually maintains. Additionally, any enforcement or
                   failure to enforce any of the obligations related to insurance shall not prejudice,
                   reduce, or limit the obligations contained in this Article 18.
   18.6. Service Orders Limited to Supply of Goods and Equipment
           In the event an individual Service Order is solely for the supply of goods or equipment and
           Employees of Contractor will not enter upon any Worksite or other facility of Company in
           connection with such Service Order, the provisions of Articles 18.1, 18.2, 18.3 and all of
           Article 19 shall not apply to such Service Order.




19. INSURANCE
   19.1.   Insurance Requirements




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     Contractor agrees to maintain insurance of the types and with limits of liability not less than
     those set forth below, at its expense, from insurers reasonably acceptable to Company
     covering items, risks and operations required to fulfill the Agreement and the Service Orders.
     19.1.1. Insurance that Contractor is obliged by law to carry that covers all of Contractor's
            Employees performing Work under any Service Order including, without limitation,
            coverage under applicable maritime law. Such insurance shall protect the Company
            Indemnitees as alternate employers against claims asserted against any of the
            Company Indemnitees by Contractor's Employees as "borrowed servants", statutory
            employees, or maritime employees.
     19.1.2. Employer's Liability insurance, including coverage for marine operations (if
           applicable), with a limit not less than One Million United States dollars ($1,000,000)
           any one occurrence or the statutory requirements, whichever amount is greater. Such
           insurance shall include protection for the Company Indemnitees as alternate
           employers against claims asserted against any of the Company Indemnitees by
           Contractor's Employees as "borrowed servants", statutory employees, or maritime
           employees.
     19.1.3. Commercial General Liability insurance, including contractual liability coverage, with a
             limit not less than One Million United States dollars ($1,000,000) any one occurrence.
             Such insurance shall include sudden and accidental pollution liability coverage.
     19.1.4. Automobile Liability insurance with a combined bodily injury and property damage limit
             not less than One Million United States dollars ($1,000,000) any one occurrence or
             the statutory requirements, whichever amount is greater, for all owned, non-owned,
             and/or leased vehicles.
     19.1.5. If aircraft are used in connection with performance under any Service Order, Aircraft
             Liability insurance, including Passenger Liability insurance, with a combined single
            limit for bodily injury and property damage not less than Fifteen Million United States
             dollars ($15,000,000) any one occurrence and a limit of not less than Five Million
            United States dollars ($5,000,000) any one passenger. (If Contractor is not the
             "owner" of the aircraft, Contractor, in lieu of providing the insurance under this article,
             shall cause the aircraft "owner" to maintain such insurance in accordance with all of
             the requirements of this article).
     19.1.6. If marine vessels are used in connection with performance under any Service Order,
             (a) Hull & Machinery insurance in an amount equal to the "agreed" value of each
             vessel, and (b) Protection & Indemnity insurance equal to the "agreed" value for each
             vessel or Fifteen Million United States dollars ($15,000,000) any one occurrence,
             whichever amount is greater. This insurance (when required) shall include Jones Act
             coverage and coverage for the crew. If such insurance is not procured from an
            International Group Club and contains an "as owner" clause or other language
             purporting to limit coverage to liability of an insured "as owner of the vessel", such
             limitation of coverage shall not apply to the Company Indemnitees in their capacities
             as additional insureds. In the event that the Protection & Indemnity policy is procured
             from an International Group Club, then Contractor agrees to have the Club extend the
             coverage to Company Indemnitees in their capacities of additional insureds/protective
            co-assureds to the fullest extent permitted by applicable Club Rules. (If Contractor is
             not the "owner" of the marine vessels, Contractor, in lieu of providing the insurance




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               under this Article, shall cause the "owner" of the marine vessels to maintain such
               insurance in accordance with all of the requirements of this Article.)

        19.1.7. Such other insurance in the types and amounts required by applicable law

19.2.   Marine Insurance
        The policies under Article 19.1.6 above shall, separately or in combination, include coverage
        for collision liability, removal of wreck and/or debris of any vessel or property (whether
        compulsory or voluntary), contractual liability, towing liability and admiralty benefits in an
        amount not less than Fifteen Million United States dollars ($15,000,000) any one occurrence
        or the "agreed" value of the vessel, whichever is greater, and have appropriate navigational
        limits.

19.3.   Primary Insurance
        All insurance coverage required above shall be primary to any insurance coverage available
        to any of the Company Indemnitees. The above stated minimum requirements are not
        intended to indicate the amounts and types of insurance that Contractor needs or may
        ultimately need.

19.4.   Waiver of Subrogation and Additional Insured

        The policies under Articles 19.1.3 through 19.1.6 above shall show each of the Company
        Indemnitees as additional insureds to the extent of the risks and liabilities assumed by
        Contractor under this Agreement and/or any Service Order and shall contain a provision that
        any breach by Contractor of any warranty, covenant, or representation in any of the policies
        shall not prejudice any claim by the additional insureds. Further, all insurance policies
        obtained by Contractor (including those described in Articles 19.1 and 19.2 and those with
        respect to Contractor's equipment) shall contain a waiver of subrogation in favor of each of
        the Company Indemnitees to the extent of the risks and liabilities assumed by Contractor
        under this Agreement and/or any Service Order. Likewise, all insurance policies obtained by
        Company or its Affiliates that are relevant to this Agreement or a Service Order hereunder
        shall contain a waiver of subrogation in favor of Contractor to the extent of the liabilities
        assumed by Company under this Agreement and/or the applicable Service Order.

19.5.   Certificates of Insurance and Policies
        None of the insurance required by this Article 19 shall be materially changed or cancelled
        without at least thirty (30) days' prior written notice to Company. All coverages must be
        written on forms reasonably acceptable to Company. Upon request of Company, Contractor
        shall furnish, to Company, certificates of insurance demonstrating that Contractor has
        obtained the insurance coverage set out above and containing a statement that such notice
        of material change or cancellation will be provided to Company. Neither review nor failure to
        review such certificates shall constitute approval thereof or be deemed to waive or diminish
        Company's rights under this Agreement or any Service Order. In the event of an accident or
        loss potentially resulting in an insurance claim, Contractor, at Company's request, shall
        provide Company with complete copies of its insurance policies for which any Company
        Indemnitee is shown as an additional insured or otherwise make the policy information
        available as reasonably required by Company. This obligation shall survive the termination of
        this Agreement or any Service Order.

19.6.   Failure to Comply




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          Neither failure to comply nor full compliance with the insurance provisions of this Agreement
          shall limit or relieve Contractor from its liability and/or indemnity obligations under this
          Agreement or any Service Order. If Contractor fails or refuses to comply with the obligations
          prescribed in this Article 19, Company, without prejudice to any other rights or remedies
          available to them or any of their Affiliates under this Agreement, any Service Order or at law,
          may (a) treat the Agreement and/or any Service Order as having been repudiated by
          Contractor, or (b) procure the required insurances and deduct the cost thereof from any
          amounts due under any Service Order or otherwise recover such amounts from Contractor.
  19.7.   Subcontracting
          Contractor shall ensure that each subcontractor maintains insurance which is required under
          any applicable laws or regulations, together with other insurance of types and amounts that
          Contractor may deem necessary.
  19.8. OCIP
          Company, at its discretion, may implement an Owner Controlled Insurance Program ("OCIP")
          with respect to a particular Service Order. If implemented, the OCIP would provide certain
          insurance coverage, including Worker's Compensation, for the benefit of Contractor and/or
          Contractor's subcontractors. If Company elects to provide such OCIP coverage, such OCIP
          coverage shall not in any way limit or reduce any of Contractor's obligations or liabilities
          under the Service Order. Contractor agrees that its invoicing will not include any costs for
          insurance that is being provided by Company under an OCIP.
  19.9.   Louisiana Insurance Requirement
          The provisions of Exhibit "G" ("Coverage of Louisiana Workers' Compensation Law"),
          attached hereto and made a part hereof, shall apply to the extent that the Louisiana Workers'
          Compensation Law (La. R.S. 23:1021 et seq.) applies to Work performed under a Service
          Order. For Work to be performed in or offshore Louisiana, Company may require Contractor
          to include in its invoice a line item for Contractor's insurance premiums allocable to the Work
          (together with all premiums in obtaining additional insured insurance coverage, waivers of
          subrogation, and primary endorsements) or to arrange for Company to pay such premiums
          directly to Contractor's insurers. If Company does require this line item or does pay the
          insurers directly, then Contractor shall produce evidence reasonably satisfactory to Company
          that such insurance has been procured. Both parties agree that Company is paying for all
          material parts of the insurance protection for Company. If requested, Contractor shall assist
          Company in providing documentation proving that such insurance premiums have been paid
          by Company.




20. INFRINGEMENT OF INTELLECTUAL PROPERTY RIGHTS

  20.1    CONTRACTOR SHALL INDEMNIFY EACH OF THE COMPANY INDEMNITEES FROM AND AGAINST ANY
          AND ALL CLAIMS ASSERTED BY OR ARISING IN FAVOR OF ANY PERSON FOR OR AS A RESULT OF
          ACTUAL OR ALLEGED VIOLATION OR INFRINGEMENT OF ANY PATENT(S), COPYRIGHT(S) OR OTHER
          INTELLECTUAL PROPERTY RIGHTS, OR MISAPPROPRIATION OR MISUSE OF TRADE SECRET(S) OR
          OTHER CONFIDENTIAL INFORMATION, BASED ON OR RELATED TO CONTRACTOR'S OR ITS
          SUBCONTRACTORS' USE OR APPLICATION OF ANY EQUIPMENT, ARTICLE OF MANUFACTURE,
          MACHINE, COMPUTER SOFTWARE, COMPOSITION OF MATTER, OR PROCESS OR BASED ON
          COMPANY'S USE OR APPLICATION OF ANY GOODS, EQUIPMENT, ARTICLE OF MANUFACTURE,




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          MACHINE, COMPUTER SOFTWARE, COMPOSITION OF MATTER, OR PROCESS WHICH IS SUPPLIED,
          DESIGNED OR PROVIDED TO COMPANY UNDER ANY SERVICE ORDER FOR ITS INTENDED PURPOSE OR
          IN RELIANCE ON ADVICE OR INSTRUCTION FROM CONTRACTOR OR ITS SUBCONTRACTORS. Company
          shall have the right, at its discretion, to select or approve the counsel that is defending
          Company, and Company retains the right to participate in any action in which Company is
          named as a defendant.
   20.2   Should Contractor be prevented from performing any portion of the Work under a Service
          Order or should Company be prevented or estopped from use or application of any goods,
          equipment, article of manufacture, machine, computer software, composition of matter or
          process supplied, designed or provided under a Service Order by reason of legal
          proceedings based upon Claims described in Article 20.1 above, Company shall be relieved
          of any obligation to make payment for such Work, and Contractor shall, at Company's option,
          either (i) obtain the necessary license to allow Contractor and Company to use such third
          party intellectual property rights to the extent necessary to allow performance of the Work in
          complete compliance with the Service Order and to allow Company to utilize the results of
          such Work in the manner contemplated by the Service Order, or (ii) redesign the Work to
          enable complete performance of the Work in accordance with the Service Order without
          infringing any such rights and without decreasing, limiting or otherwise affecting the
          functionality of the results of such Work.
   20.3. Notwithstanding any provisions of this Agreement or the applicable Service Order to the
          contrary, the parties agree that damages under this provision are allowed as direct damages
          and shall not be deemed to be special, indirect or consequential.


21. LIENS AND CLAIMS

   21.1. General
          Contractor shall keep the Work, the Site and other property of the Company Indemnitees free
          of all liens or other encumbrances in favor of Contractor, any of its subcontractors or
          suppliers or any other person acting through or under any of them. If such a lien or
          encumbrance is filed on all or any portion of the Work, the Site or other property of any of the
          Company Indemnitees, Contractor shall remove and discharge, by payment, bond or
          otherwise, such lien or encumbrance within seven (7) days of the filing of such lien or
          encumbrance. If Contractor fails to remove and discharge any such lien or encumbrance
          within such seven (7) day period, then Company or the affected Company Indemnitee may, in
          its sole discretion and in addition to any other rights that it has under this Agreement or any
          Service Order, at law or in equity, remove and discharge such lien and encumbrance using
          whatever means that Company, in its sole discretion, deems appropriate, including the
          payment of settlement amounts that it determines, in its sole discretion, as being necessary
          to discharge such lien or encumbrance. In such circumstance, Contractor shall be liable to
          Company for all damages, costs, losses and expenses (including reasonable attorneys' fees,
          consultant fees, litigation expenses, and settlement payments) incurred by Company arising
          out of or related to such removal and discharge. All such damages, costs, losses and
          expenses shall be paid by Contractor no later than thirty (30) days after receipt of an invoice
          therefore from Company; alternatively, Company may deduct such damages, costs, losses
          and expenses from any performance security provided by Contractor or from any amounts
          otherwise due Contractor. CONTRACTOR SHALL INDEMNIFY EACH OF THE COMPANY INDEMNITEES
          FROM AND AGAINST ANY AND ALL CLAIMS ARISING OUT OF SUCH LIENS OR ENCUMBRANCES
          RESULTING FROM OR RELATED TO THE PERFORMANCE OF THE WORK.



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           Nothing contained herein shall prevent Contractor from asserting a lien against Company for
           undisputed payments not made by Company to Contractor in accordance with the terms of
           this Agreement.
   21.2.   Lien Waivers
           Company reserves the right to require Contractor to provide lien waivers as a condition
           precedent to payment of any invoice and/or to obtain and deliver to Company lien waivers
           from its subcontractors. If Company requires lien waivers with respect to an interim invoice,
           such lien waiver shall waive any and all liens and encumbrances against the Work, the Site
           and other property of the Company Indemnitees to the extent of the current invoice and all
           prior invoices. Further, interim lien waivers shall only be required from subcontractors who
           have performed any of the Work for which the present invoice applies. If Company requires
           lien waivers with respect to a final invoice, such lien waiver shall waive any and all liens and
           encumbrances whatsoever against the Work, the Site and other property of the Company
           Indemnitees. Such lien waivers shall be provided in forms required by applicable law or as
           required by Company.
   21.3. Claim Waivers
           As a condition precedent to any payment, Contractor shall include with each invoice a claim
           waiver that specifically describes any and all claims for extra work, delays, and similar issues
           affecting compensation or Contractor's cost and time of performance that Contractor has
           against Company arising out of the Service Order as of the date of such invoice. Contractor
           hereby waives any and all claims that are not described in reasonable detail in the claim
           waiver document. Such claim waivers shall be provided in forms required by applicable law or
           as required by Company.


22. FORCE MAJEURE
   22.1.   In the event either party to a Service Order is prevented from performing its obligations by
           reason of Force Majeure, that party's obligations, other than the obligation to pay monies
           due, shall be suspended to the extent they are prevented or impacted by the Force Majeure
           event.
  22.2. The party which is prevented from performing by Force Majeure shall advise the other party
          immediately (and shall follow with written notice as soon as possible) of its inability to meet its
          obligations under the Service Order, specifying the cause of the Force Majeure and the
          estimated extent to which the event or condition will impact performance, and such party will
          advise the other party when such difficulty ceases. If Contractor fails to give Company the
          written notice described above within five (5) days of the occurrence of the event or condition,
          Contractor cannot claim Force Majeure as a defense hereunder.
  22.3     The party claiming a Force Majeure event or conditions shall act diligently to remove or
           remedy such condition and to mitigate the effect and impact of such condition.
  22.4. If the Service Order provides for any guaranteed completion dates for the Work, the schedule
           for performance and completion of the Work shall be extended only to the extent the Force
           Majeure event impacts the critical path for the Work and only to the extent that the duration of
            the Force Majeure event exceeds the float in the schedule (but in any event for no longer
            than the actual period of Force Majeure). Each party shall bear its own costs and expenses
            incurred in connection with the Force Majeure event, and neither shall seek recovery of such
           costs or expenses from the other party.



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23. WARRANTY

  23.1. Contractor hereby warrants as follows:

          23.1.1. The Work shall be diligently performed with competent and skilled personnel in a good
                  and workmanlike manner consistent with generally accepted industry standards;

          23.1.2. The Work shall be complete and free of defects in design, materials and construction;

          23.1.3. All Work and components thereof shall be in full compliance with all applicable laws,
                 rules and regulations;

          23.1.4. All materials incorporated into the Work shall be new (unless otherwise specifically
                 agreed between Company and Contractor in the applicable Service Order), of
                 merchantable quality and fit for their intended purpose; and

          23.1.5. All Work shall be performed in accordance with the specifications and drawings
                 approved by Company and incorporated into the Service Order.

  23.2.   If any of the Work or materials is found to be defective or not in conformance with these
          warranties during the period beginning at the commencement of Work under the applicable
          Service Order and ending twelve (12) months following completion and acceptance of the
          Work under the applicable Service Order, Contractor shall, on an expedited basis, repair or
          replace any defective or nonconforming Work, materials or workmanship at its own cost.
          Contractor shall also be responsible, at its own cost, for the removal of and replacement of
          any portion of the facilities necessary to locate, remove, repair or replace any such defective
          or nonconforming Work or materials, as well as for the repair or replacement of any parts of
          Company's facilities damaged by such access, repair or replacement and for the removal
          from the Site and disposal of all scrap, trash and debris generated by such repair or
          replacement. Notwithstanding the foregoing, in the event the applicable Service Order is
          solely for the supply of goods or equipment (with or without the performance of incidental
          services related thereto), the warranty period with respect to such Service Order shall end at
          the later of twelve (12) months after installation of the goods or equipment or twenty-four (24)
          months after Contractor's delivery of the goods or equipment in accordance with the terms of
          the Service Order and Company's acceptance of such delivery.

  23.3. Any Work or materials that is repaired or replaced pursuant to Article 23.2 above shall be
         subject to the warranties provided in Article 23.1 and the remedies set forth in Article 23.2 for
         the remainder of the warranty period provided in Article 23.2 above or for a period of twelve
         (12) months from Company's acceptance of the repaired or replaced Work or materials,
         whichever period expires later.

  23.4. Should Contractor refuse or fail to commence repair or replacement of any such defective or
         nonconforming Work within twenty-four (24) hours, if the defective or nonconforming Work is
         discovered prior to completion and acceptance of the Work under the applicable Service
          Order, or within three (3) days, if the defective or nonconforming Work is discovered after
         completion and acceptance of the Work under the applicable Service Order, Company shall
         have the right to perform the repair or replacement itself or to have the repair or replacement
         performed by a third party on an expedited basis. Contractor shall be responsible for all costs
         of such repair or replacement, including but not limited to any amounts payable to third
         parties, third-party certifications and testing, and Company's internal costs, and Company
         may collect such amount directly from Contractor or by offset against performance security, if
         any, or by deduction from other amounts due Contractor.




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  23.5.   Notwithstanding the terms of Articles 23.2, 23.3 and 23.4, if the Work is defective or
          nonconforming and Company determines that it is not feasible to repair or replace the Work,
          Company may accept the Work "as is" and recover an amount equal to the difference in cost
          between the Work that was performed and the Work that should have been performed
          according to the Service Order.
  23.6. Contractor shall obtain warranties from subcontractors and suppliers that meet or exceed the
         requirements of this Article 23. Such subcontractor or supplier warranties shall (i) be for the
         express benefit of Company and Contractor; (ii) shall be fully assignable to Company and
          shall be assigned to Company upon expiration of the warranty period described in Article
         23.2 above; and (iii) shall be in addition to (and not in limitation of) the warranties of
         Contractor described in this Article 23.


24. TERM AND TERMINATION OF AGREEMENT AND SERVICE ORDERS
  24.1.   This Agreement shall continue in full force and effect for a term of five (5) years from the
          Effective Date (unless earlier terminated in accordance with this Article 24). Termination or
          expiration of this Agreement shall not terminate Service Orders that are in place as of the
          effective date of such termination.
  24.2. Additionally, either Company or Contractor may terminate this Agreement for convenience by
          giving written notice of such termination. Unless withdrawn by agreement of the parties, such
          termination shall be effective upon the other party's receipt of such notice.
  24.3. Company may terminate a Service Order for cause if Contractor fails to make any payments
         to subcontractors or suppliers for Work under that Service Order when due, fails to diligently
         perform the Work under that Service Order, or otherwise fails to perform or fulfill any material
         obligation under the Service Order, and fails to correct any such failure within ten (10) days of
         notice from Company. Notwithstanding the foregoing, Company may immediately terminate
         the Service Order for cause if (i) Contractor commits any material safety violations in the
         performance of the Work; (ii) Contractor is in default under Article 3.9.1 or violates any of the
         obligations contained in Articles 14, 15 or 16; or (iii) Contractor becomes insolvent, has a
         receiver appointed, makes a general assignment or filing for the benefit of creditors or files for
         bankruptcy protection. In the event of a termination under this Article 24.3, Company shall
         make no further payments until the Work is completed by Company or by another contractor
         on behalf of Company. Once the Work is completed, Company shall pay Contractor the
         remaining amount due Contractor for Work completed prior to the effective date of
         termination, less any costs of completing the Work in excess of the amount that would have
         been paid to Contractor for completion of the Work had Contractor not been in default and
         any administrative, legal and other expenses incurred by Company in connection with
         Contractor's default and Company's termination of the Service Order. The termination and
         deduction of costs and expenses shall be without prejudice to any other legal or equitable
         remedies available to Company.
  24.4.   In addition to the foregoing, Company may terminate a Service Order at any time for its
          convenience by providing written notice of such termination to Contractor. Company shall pay
          Contractor for all Work performed up to the effective date of such termination plus costs to
          terminate subcontracts and purchase orders as directed by Company (provided that the cost
          of such termination is approved in advance by Company), the reasonable costs of protecting
          and securing the Work and components thereof as provided in Article 24.5 below, and




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           reasonable demobilization costs actually incurred by Contractor as a direct result of such
           termination.
   24.5.   In the event of a termination of a Service Order pursuant to Articles 24.3 or 24.4 above,
           Contractor shall cease performance of the Work to the extent directed by Company and shall
           cooperate with Company to assign to Company subcontracts and purchase orders required
           by Company, to terminate, on terms favorable to Company, subcontracts and purchase
           orders not assigned to Company, and to transfer the Work and any components thereof as
           directed by Company. Additionally, Contractor shall take reasonable steps to secure and
           protect the Work and any components thereof until Company or its designee has taken
           possession.
   24.6.   In no event shall Company be liable for, nor shall Contractor be entitled to make, any claim
           for lost or anticipated profits, unearned bonuses or any similar damages for Work terminated
           or not performed by Contractor.
   24.7. In the event Company terminates the Work under a Service Order pursuant to Articles 24.3 or
            24.4 above or reduces the Work to be performed by Contractor pursuant to Article 8,
            Company shall have the unrestricted right to contract with any person for the performance of
            such Work. Company shall have no liability whatsoever to Contractor arising out of such
            contracting, and Contractor shall not be entitled to any compensation or recompense arising
            out of Company's decision to contract for performance of such Work with another person.


25. SUSPENSION
   Company may, for any reason, at any time and from time to time, suspend the carrying out of the
   Work under a Service Order or any part thereof. Upon receipt of such notice of suspension from
   Company, Contractor shall suspend the carrying out of such suspended Work for such time or times
   and in such manner as set forth in such notice and shall take reasonable steps to minimize any costs
   associated with such suspension. Except where such suspension ordered by Company is the result
   of or due to the fault or negligence of, breach of contract or other legal fault of Contractor or any of its
   subcontractor or due to Force Majeure, Contractor shall be entitled to the reasonable costs caused by
   such suspension, including demobilization and remobilization costs, if applicable, provided Contractor
   provides Company with appropriate supporting documentation to evidence such costs, and an
   appropriate time extension to any guaranteed completion dates Any guaranteed completion dates
   shall only be adjusted to the extent the suspension impacts the critical path for the Work and only to
   the extent that the duration of the suspension exceeds the float in the schedule (but in any event for
   no longer than the actual period of the suspension). Upon receipt of notice to resume suspended
   Work, Contractor shall immediately resume performance of the Work to the extent required in the
   notice. In no event shall Contractor be entitled to any additional profits or damages due to such
   suspension.


26. CONFIDENTIALITY
   26.1.   During the term of this Agreement and for a period of fifteen (15) years after expiration or
           termination of this Agreement, Contractor shall treat as confidential and shall not, without
           Company's prior written consent, divulge to any third party, or, except to the extent necessary
           for performance hereunder, make any use of any information about or shared in conjunction
           with performance under any Service Order or the operations to which that performance
           pertains.




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26.2. Contractor shall inform each of its officers, Employees, agents and subcontractors who
       receive any of the above described information of the provisions and requirements of this
       Article 26 and, if they have not previously entered into a separate agreement with Company
       dealing with the confidentiality of such information, Contractor shall require them to agree in
       writing to be bound by the provisions in this Article 26 in the same manner as Contractor is
       bound hereunder.
26.3. Any information which was in Contractor's possession prior to its disclosure by or on behalf of
        Company to Contractor, or which is or shall become part of the public knowledge or literature
        from a source other than Contractor, either directly or indirectly, shall not be subject to the
        provisions of this Article 26. Information which shall become available to Contractor
        legitimately from a source other than Company shall be released from the provisions of this
        Article 26 to the extent necessary to permit such use and disclosures as are authorized by
        such source.
26.4.   If Contractor is required by applicable law or by the rules of a recognized stock exchange on
        which Contractor is listed to disclose any of the confidential information, Contractor shall,
        immediately give Company written notice of such obligation and shall cooperate with
        Company in any effort to obtain protective orders, obtain rulings to eliminate the obligation to
        make the disclosure and otherwise protect Company's rights in the confidential information. If
        the efforts to eliminate the obligation to make the disclosure of confidential information are
        unsuccessful, Contractor may make the disclosure, however such disclosure shall be limited
        to the minimum amount of information necessary to comply with the legal obligation.
26.5.   Contractor shall not take advantage of any information which it is obliged to treat as
        confidential hereunder for the purpose of buying, selling or otherwise dealing with shares or
        securities of Company or its Affiliates or Coventurers or for purposes of otherwise securing
        financial gain other than by means of the compensation set out in the applicable Service
        Order.
26.6.   Contractor shall not release or allow the release of any information to the press, any news
        disseminating agency or communications media, except as required by law, concerning the
        details of the Work or the terms of this Agreement or any Service Order, without in each
        instance securing the prior written consent of Company.
26.7.   If Contractor enters or has entered into a separate confidentiality agreement with Company
        with respect to certain information which conflicts with the terms of this Article 26, then the
        terms of such separate confidentiality agreement shall take precedence over the terms of this
        Article 26 with respect to the information disclosed under such separate confidentiality
        agreement.
26.8.   Contractor shall obtain the prior written approval of Company to the text of any publicity they
        propose to issue in connection with this Agreement, and shall obtain the prior written
        approval of Company to the text of any publicity Contractor proposes to issue in connection
        with the specific Service Order.
26.9.   Notwithstanding the term set forth in Article 26.1 above, the obligations of Contractor under
        Articles 26.5, 26.6 and 26.8 shall not terminate and shall survive expiration of other
        obligations under this Article 26 and any termination or expiration of this Agreement.
26.10. Notwithstanding any provisions of this Agreement or any Service Order to the contrary, the
        parties agree that damages for breach of the provisions of this Article 26 will be allowed as
        direct damages and shall not be deemed to be special, indirect or consequential.



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27. INDEPENDENT CONTRACTOR

   27.1     Contractor shall perform all Work as an independent contractor. Neither Contractor nor its
            agents or Employees shall be the agents or Employees of Company (subject to the specific
            provisions of Exhibit "G" when Work is performed in Louisiana). Contractor shall be fully
            responsible for and shall have exclusive direction and control of its agents, Employees and
            subcontractors and shall control the manner and method of carrying out the Work.
   27.2     Any provision in this Agreement, any Service Order, planning form or other documents
            between the parties whereby Company or any of its agents or Employees would appear to
            have the right to direct Contractor or its agents and Employees as to the manner of
            performing the Work is intended and shall be interpreted as meaning that Contractor shall
            follow the wishes of Company in the results to be achieved and not in the means whereby the
            Work is to be accomplished.
   27.3     Notwithstanding the foregoing, if Company should request that Contractor remove one of
            Contractor's agents, Employees or subcontractors from the Work for any reason, including,
            but not limited to, conduct which interferes with Company's operations or lack of competence,
            Contractor shall promptly cause such agent, Employee or subcontractor to be replaced in
            performance of the Work at no cost to Company. The parties acknowledge and agree that
            Contractor retains the sole right to select, hire, discharge, and retain its Employees, agents
            and subcontractors.
   27.4     CONTRACTOR SHALL INDEMNIFY EACH OF THE COMPANY INDEMNITEES FROM AND AGAINST ANY
            AND ALL CLAIMS BY OR ON BEHALF OF CONTRACTOR'S EMPLOYEES OR THE EMPLOYEES OF
            CONTRACTOR'S SUBCONTRACTORS REGARDING OR RELATING TO THE BENEFIT PROGRAMS OF THE
            COMPANY INDEMNITEES INCLUDING, BUT NOT LIMITED TO, CLAIMS INVOLVING PENSIONS, MEDICAL
            AND UNEMPLOYMENT.

   27.5.    CONTRACTOR SHALL INDEMNIFY EACH OF THE COMPANY INDEMNITEES FROM AND AGAINST ANY
            AND ALL CLAIMS BY OR ON BEHALF OF CONTRACTOR'S EMPLOYEES OR THE EMPLOYEES OF
            CONTRACTOR'S SUBCONTRACTORS REGARDING OR RELATING TO THE EMPLOYMENT OF SUCH
            EMPLOYEES INCLUDING, BUT NOT LIMITED TO, CLAIMS UNDER FEDERAL AND STATE ANTI-
            DISCRIMINATION LAWS; CLAIMS OF RETALIATION; CLAIMS FOR BREACH OF EXPRESS OR IMPLIED
            CONTRACTS FOR CONTINUED EMPLOYMENT; CLAIMS OF NEGLIGENT HIRING, SUPERVISION, AND/OR
            RETENTION; AND CLAIMS ALLEGING JOINT EMPLOYMENT BY ANY OF THE COMPANY INDEMNITEES.


28. AUDIT

   Contractor shall, and shall ensure that its subcontractors shall: (i) maintain a true and correct set of
   records pertaining to all activities relating to its performance of the Work under each Service Order
   and all transactions related thereto; (ii) retain all such records for a period of not less than five (5)
   years after final payment for the Work; (iii) permit any representatives authorized by Company to
   audit any and all such records at any reasonable time or times and with reasonable notice during the
   term of the applicable Service Order and during the five (5) year period after final payment for the
   Work performed thereunder and all transactions related thereto; (iv) afford Company and its
   representatives access to all records, books, correspondence, instructions, drawing, receipts,
   vouchers, memoranda, and similar data pertaining to such Service Order, or any other data deemed,
   in the sole opinion of Company, necessary for the conduct of Company's business during such
   audits; and (v) cooperate fully with Company during the audits performed hereunder, including
   furnishing Company with copies of all requested documents. Additionally, Company shall have the




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   right to obtain statements from Contractor's personnel and the personnel of Contractor's
   subcontractors in the course of such audits.


29. ASSIGNMENT
   29.1.   Contractor shall not assign this Agreement, in whole or in part, without the prior written
           consent of Company. Any such assignment without the prior written consent of Company
           shall be void and of no force and effect. This Agreement shall inure to and be binding upon
           the respective successors and permitted assigns of the parties hereto.
   29.2. Contractor shall not assign a Service Order or sublet the Work thereunder, in whole or in part,
           without the prior written consent of Company, nor shall Contractor assign any amounts due or
           to become due to it under such Service Order, without the prior written consent of Company.
          Any such assignment without the prior written consent of Company shall be void and of no
          force and effect. A Service Order shall inure to and be binding upon the respective
           successors and permitted assigns of the parties thereto.


30. GOVERNING LAW
   30.1. The interpretation and performance of this Agreement and of Service Orders shall be
          governed by and construed in accordance with the laws of the State of Texas, except for any
          rule or law of the State of Texas which would make the law of any other jurisdiction
          applicable.
   30.2.   In the event the applicable Service Order is solely for the supply of goods or equipment (with
           or without the performance of incidental services related thereto), the Uniform Commercial
           Code provisions of Texas law to the extent not inconsistent with the terms of this Agreement
           and/or the applicable Service Order, shall be used to construe and govern the Service Order
           and the performance thereunder.
   30.3. The parties specifically agree that, if any provision of this Agreement or a Service Order is
          determined to be unenforceable or in contravention of any applicable law, such provision
          shall be deemed modified to the minimum extent required to bring such provision into
          compliance with said statute or case law. NOTHING CONTAINED HEREIN SHALL BE
          CONSTRUED AS CONTRAVENING THE EXPRESS INTENTION OF THE PARTIES THAT
          THE LAWS OF THE STATE OF TEXAS SHALL APPLY IN ALL RESPECTS.


31. DISPUTE RESOLUTION
   The parties agree that they will use the procedures outlined in Exhibit "F" ("Dispute Resolution"),
   attached hereto and made a part hereof, to resolve any dispute which may arise between them under
   this Agreement or under any Service Order.


32. NOTICES
   Unless otherwise specifically provided, all notices and other communications provided for or required
   by this Agreement shall be in writing and shall be effective upon receipt. Such notices and
   communications shall be given either: (i) by hand delivery to an authorized representative of the party
   to whom directed; (ii) by United States registered mail return receipt requested, postage prepaid; or
   (iii) by courier service, charges prepaid.




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       Corn pany:

       Phillips 66 Company
       1075 W. Sam Houston Parkway N.
       Suite 200
       Houston, TX 77043

       Attn: Whitney Nolan Campbell

       Email: whitney.noian-campbel1Qp66.com

       Attn: Procurement




       Contractor:

       Blanchard Contractors, Inc.

       Address.

       P.O. BOX 884

       Cut, Off, LA 70345

       Attn: Dennis Vegas

       Email: svegas@blanchardcontractors.com

       Either party may, at any time, change its notice address and details by written notice to the other
       party in accordance with this Article 32.


33. RULES OF INTERPRETATION AND GENERAL PROVISIONS

   33.1. Any provisions in this Agreement or in any Service Order that expressly apply to the
          Contractor's subcontractors shall be interpreted, unless otherwise expressly stated, to mean
          that they apply to subcontractors of any tier.

   33.2. The captions and headings used in this Agreement are for convenience only and shall not be
           used for purposes of construction or interpretation.

   33.3. No waiver by either party of any one or more defaults by the other party in the performance of
          this Agreement or a Service Order shall operate or be construed as a waiver of any future
          default or defaults by the same party, whether of a like or different character.

   33.4. Each party hereto agrees that it has had the opportunity to be represented by counsel in
          connection with the drafting and negotiation of this Agreement, and the parties agree that this
          Agreement and the terms hereof shall not be construed more severely against one of the
          parties than the other. Specifically, but not by limitation, the parties agree that no term of this




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        Agreement shall be construed more severely against the party deemed to be the drafter of
        such term than against the other party.
33.5. The use of any INCOTERMS or any delivery terms or similar terms in this Agreement or any
        Service Order are used solely for the purpose of expressing the duties to be performed by
        each party and is not intended and shall not be used to define or specify the point at which
        title or risk of loss will transfer from one party to the other.
33.6.   It is intended that if any provision of this Agreement is determined to be unenforceable or void
        for any reason, such provision shall be adjusted, if possible, in order to achieve the intent of
        the parties. In any event, all other provisions of the Agreement shall be deemed valid, binding
        and enforceable.
33.7.   Notwithstanding any provision of this Agreement to the contrary, the expiration or termination
        of this Agreement or any Service Order shall not relieve the parties of any obligations that, by
        their nature, survive such expiration or termination, including without limitation any Claims
        arising out of the Work or the performance of the Work, warranties, indemnities, insurance
        requirements, audit rights, dispute resolution procedures, and obligations with respect to
        confidential information.
33.8. Any terms or conditions contained in any of Contractor's purchase orders, price lists,
       invoices, tickets or other documents presented to Company related to any Work performed
       under an individual Service Order shall be null and void, regardless of whether signed by an
       Employee of Company.
33.9. This Agreement reflects the entire agreement between the parties with respect to its subject
        matter. Except for specific confidentiality agreements described in Article 26, all other oral or
        written agreements, contracts, understandings, conditions, warranties or representations with
        respect to the subject matter of this Agreement are superseded by this Agreement.
33.10. This Agreement and any amendment or supplement hereto may be executed in one or more
        counterparts. Each such counterpart will be deemed an original, and all such counterparts
        together will constitute one and the same document. Signatures exchanged via facsimile,
        electronic mail or other electronic means will be valid and binding and deemed an original
        signature of the signatory in question. This Agreement and any amendment or supplement
        hereto may be scanned and stored electronically, or stored on computer tapes and disks, as
        may be practicable (the "Imaged Agreement"). The Imaged Agreement if introduced as
        evidence in its original form and as transcribed onto paper, and all computer records of the
        foregoing, if introduced as evidence in printed format, in any judicial, arbitration, mediation or
        administrative proceedings, will be admissible as between the parties to the same extent and
        under the same conditions as other business records originated and maintained in
        documentary form. Neither party shall object to the admissibility of any Imaged Agreement
        (or photocopies of the transcription of such Imaged Agreement) on the basis that such were
        not originated or maintained in documentary form under either the hearsay rule, the best
        evidence rule or other rule of evidence. However, nothing herein shall be construed as a
        waiver of any other objection to the admissibility of such evidence.




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IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by their respective duly
authorized representatives, effective as of the Effective Date.

PHILLIPS 66COMPANY                               Blanchard Contractors,

Signature:UyVkliq.           69(6'110,  1M       signature:
                                                                 .7.44414,4"
NameMAA              m   utv)coor        Name: f
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Title: rWyct Et         As.e                     Title:
                                                              Ric5 /C. /14444174 bie
Date:    p(bliz o lco                            Date:
                                                              ///*e




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                                    EXHIBIT "A" — EXAMPLE ONLY
                                      FORM OF SERVICE ORDER

This Service Order ("Service Order"), effective as of the        day of            , 20yy, is entered into
by and between               •a                corporation (hereinafter referred to as "Company"), and
            ,a              corporation (hereinafter referred to as "Contractor")

WHEREAS, Company has a need for the goods or services specifically described in this Service Order;
and

WHEREAS, Contractor has the expertise, experience, personnel, and other assets necessary to supply
such goods or services; and

WHEREAS, Phillips 66 Company and have entered into that certain USA Master Services Agreement,
dated [insert MSA Effective Date], Contract Number [insert MSA Contract Number] (the "Agreement"),
whereby Phillips 66 Company or its Affiliates may order and obtain goods or services from or its
Affiliates; and

WHEREAS, Company and Contractor desire to use the terms of such Agreement to form the commercial
basis for this Service Order;

NOW, THEREFORE, in consideration of the foregoing express premises, Company and Contractor agree
as follows:

1. SCOPE

Contractor shall perform the following scope of work (the "Work"):

2. SCHEDULE

Contractor shall commence performance of the Work on                   and shall complete the Work no
later than

3. COMPENSATION

In consideration of the satisfactory performance of the Work, Company shall compensate Contractor in
accordance with the rates and prices in

4. MODIFICATIONS, CHANGES AND AMENDMENTS TO THE TERMS OF THE AGREEMENT AND
   ADDITIONAL TERMS

For purposes of this Service Order only, the following terms of the Agreement are modified, changed and
amended as expressly shown below:




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Agreement Article                  Article Heading                     Modification, Change,
                                                                       Amendment




The following terms, which are in addition to the terms of the Agreement, shall apply to this Service Order
only:

5. Except as expressly modified in Article 4 above, the terms of the Agreement shall apply to the Work
   to be performed under this Service Order in accordance with the order of precedence set forth in
   Article 2.3 of the Agreement. Any capitalized terms not defined in this Service Order shall have the
   meaning assigned to such terms in the Agreement.

6. ATTACHMENTS

The following documents are incorporated into and shall form a part of this Service Order as if fully
rewritten herein:

Only the documents listed hereinabove shall be considered to be part of this Service Order and binding
on Contractor and Company. Any document not listed hereinabove shall not be a part of this Service
Order and is superseded by the express terms hereof.

7. NOTICES

All notices and other communications provided for or required by this Service Order shall be in writing and
shall be effective upon receipt. Such notices and communications shall be given either: (i) by hand
delivery to an authorized representative of the party to whom directed; (ii) by United States registered
mail return receipt requested, postage prepaid; or (iii) by courier service, charges prepaid.

Company:




Attn:

Email

Contractor:

Attn:

Email:




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The parties shall as a matter of courtesy, but not as a means of formally providing notice hereunder, may
elect to send an advance copy by electronic transmission ("Email") of any notice which is required to be
given under this Service Order.

Any notice, other than a Force Majeure notice, delivered after normal business hours to the receiving
party's place of business shall be deemed to have been delivered to the receiving party the following
business day.

Either party may, at any time, change its notice address and details by written notice to the other party in
accordance with this Article 7.

IN WITNESS WHEREOF, Contractor and Company have caused this Service Order to be executed by
their respective authorized representatives, effective as of:




PHILLIPS 66 COMPANY                                   <Contractor>

Signature:                                            Signature:

Name:                                                 Name:

Title:                                                Title:

Date:                                                 Date:




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                                   EXHIBIT "B" - COMPENSATION

                                           EXAMPLE ONLY

Related Agreement Name:

Phillips 66 Company Representative:

Contractor Name:

Contractor Representative:

Effective Date:

Expiration Date:

SAP Outline Agreement Number:

Whereas, Phillips 66 Company and <Contractor> agree that the rights and obligations of the parties shall
be governed by the above referenced AGREEMENT and, if applicable, Scope of Work Agreement, and
such provisions, representations, certifications and specifications as are attached or incorporated by
reference herein.

PHILLIPS 66 COMPANY                                <Contractor>

Signature:                                         Signature:

Name:                                              Name:

Title:                                             Title:

Date:                                              Date:


COMPENSATION:

(FREE TEXT description of pricing document)

For changes to the agreed to Compensation, a                  day written notice must be forwarded to
           Also send a copy of notice as instructed per "Notices" in the related Agreement. Any changes
must be pre-approved by Company in writing.




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                                               EXHIBIT "C"


 COMPANY PROHIBITION ON CERTAIN SUBSTANCES, ITEMS AND ACTIVITIES AND THE DRUG
                            FREE WORKPLACE ACT

1. PROHIBITION OF ALCOHOL, DRUGS, CHEMICALS AND OTHER ILLEGAL OR CONTROLLED
   SUBSTANCES

  1.1. As used in this Exhibit, the term "Substance" includes alcohol, controlled substances, illegal
       drugs, prescribed and over-the-counter medication, substances that an individual may not
       manufacture, distribute, dispense, possess or use under U.S. law, and any other substances that
       may be introduced into the body that may alter an individual's mood, perception, coordination,
       response, performance, or judgment.
  1.2. In addition to the requirements of Article 2.2 of this Exhibit C, Contractor agrees that it will
       prohibit the consumption, use, manufacture, dispensing, possession, distribution, promotion,
       provision, purchase, sale, transportation, concealment, transfer, storage or similar transaction in
       or of any Substances, other than proper use of prescription and over-the-counter medication
       used in accordance with their directions and limitations, on Company Premises.

  1.3. As used in this Exhibit, "Company Premises" is used in its broadest sense and includes, but is
       not limited to, all land, property, buildings, parking lots, recreation areas, drilling rigs, structures,
       installations, areas of embarkment or disembarkment (such as landing areas or docks), boats,
       planes, helicopters, cars, trucks and other means of conveyance owned by or leased to the
       Company or any of its Affiliates or to contractors and/or their subcontractors who are performing
       work for Company (e.g., seismic locations).
  1.4. Contractor agrees that it will prohibit the use, manufacture, possession, transportation, purchase,
       sale, storage or similar transactions in or of firearms (where it is legally permissible to prohibit
       possession, storage or transportation of firearms), explosives or other weapons by its Personnel
       while performing Work for Company and/or while on Company Premises.

      1.4.1. As used in this Exhibit C, "Weapons" means any item designated, manufactured,
              intended, or appearing to be for use primarily as a weapon, including sport weapons.

      1.4.2. As used in this Exhibit C, "Personnel" includes Contractor's owners, Employees and
              subcontractors and their owners and Employees.

  1.5. Contractor agrees that it will prohibit its Personnel from removing from the Worksite food,
       supplies, tools or other Company property or the personal property of others unless such
       removal is authorized for removal by another provision of this Agreement or by the Company
       Representative.

2. CONTRACTOR'S RESPONSIBILITIES
   2.1. Contractor is solely responsible for ascertaining, maintaining and monitoring the Substance-free
        status of its Personnel who enter Company Premises or perform Work. If Contractor intends to
        meet this obligation by means other than Substance testing, Contractor will so inform Company.
        Contractor, with at least thirty (30) days' notice from Company, may be required to enroll and
        remain an active participant in a drug testing program or consortium. The cost of any substance
        abuse testing program shall be borne by Contractor. Company may bar from Company Premises
        and Work any Contractor Personnel for whom Contractor cannot establish, to Company's
        satisfaction, Substance-free status.




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2.2. Contractor shall be responsible for informing its Personnel assigned to the Work or entering
     Company Premises of Company's prohibitions pertaining to Substances and of Company's rights
     under this Exhibit C. Contractor will prohibit its Personnel from reporting for duty or remaining on
     duty with respect to performing Work for Company, while under the influence of any Substance
     which could in any way adversely affect their job performance or their ability to perform their job
     safely. Contractor will further instruct its Personnel that they are required to obtain the
     information necessary to determine whether the use of any prescribed or over-the-counter
     medications may negatively affect their work performance or the ability to perform their job
     safely.
2.3. Contractor shall inform its Personnel that an individual's privilege of entering on or remaining on
     Company Premises is conditioned upon each individual consenting to searches of vehicles,
     lockers, desks, etc., and other personal effects by the Company, its designee, or appropriate law
     enforcement officials. Searches will be conducted at the discretion of Company and may utilize
     dogs. Searches may focus upon Substances and Substance-related paraphernalia, but may not
     be limited to such items. If Personnel choose not to participate in a search, they will be escorted
     off the Company Premises and barred from Company Premises and further Work.
2.4. Contractor will perform or cause to be performed all actions necessary for compliance with any
     Federal, State or local laws or regulations pertaining to Substances and related issues.
2.5. If Work is covered by any Federal, State or local laws or regulations, whether currently in force
      or later enacted, including but not limited to those listed below in this Article 2.5, Contractor
      agrees to perform all testing and provide all education, training and other functions for its
      Personnel mandated by such laws or regulations to the extent the laws or regulations are
      applicable to the Work.
     DOT Anti-Drug Program for Specified Aviation Activities - currently 14 CFR §§ 61, et al DOT
     Programs for Chemical, Drug & Alcohol Testing of Commercial Vessel Personnel - currently
     46CFR §§ 4, 5, 16 DOT Drug-Free Workforce Regulations - currently 48 CFR §§ 223, 252 DOT
     Procedures for Transportation Workplace Drug Testing Programs - currently 49 CFR § 40 DOT
     Control of Drug Use in Natural Gas, LNG, & Hazardous Liquid Pipeline Operations - currently 49
     CFR § 199 DOT Federal Railroad Administration, Alcohol/Drug Regulations - currently 49 CFR
     §§ 217, 219, 225 DOT Federal Highway Administration Controlled Substances Testing -
     currently 49 CFR §§ 391, 394 DOT Control of Drug Use in Mass Transportation - currently 49
     CFR § 653 Drug-Free Workplace Act of 1988 - 41 USC §§ 701-707
2.6. If Contractor's Personnel perform Work not covered by Article 2.5 and perform Work on
     Company Premises, Company may require Contractor to develop or implement a substance
     program or to modify its existing program to meet Company's Minimum Requirements, including
     but not limited to, pre-employment, for-cause, post-accident, random and/or periodic drug
     testing.
    2.6.1. As used in Article 2.6 of this Exhibit C, "Company's Minimum Requirements" for
            substance detection are the same as those requirements specified in 49 CFR § 40 which
            is the DOT Procedures For Transportation Workplace Drug Testing Programs, or its
            successor regulations.
    2.6.2. Contractor will allow Company or its designee to have access to Contractor's property
            and records for the purposes of auditing any records to ensure the Contractor's
            substance program is in compliance with this Exhibit C.




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      2.6.3. Company may require, and Contractor will provide, documentation in lieu of or in addition
              to access to Contractor's property and records as noted above for the purpose of
              ensuring compliance with this Exhibit C.

      2.6.4 As used in Article 2.6 of this Exhibit C, "Company's Minimum Requirements" are at least
              25 percent of Contractor's Personnel must be tested each calendar year with testing
              spread reasonably over a 12-month period. At minimum, Contractor's substance abuse
              testing panel must mirror the DOT test panel of Cocaine, Marijuana, Opiates,
              Phencyclidine and Amphetamines which includes MDMA, and Contractor must update its
              test panel to correspond with any subsequent updates made by DOT. Testing should be
              conducted on an unannounced and random basis.

3. COMPANY'S RIGHTS

  3.1. Company reserves the right to turn over to appropriate law enforcement authorities any
       Substances or Substance-related paraphernalia found on Company Premises.

  3.2. Company reserves the right to bar from Company Premises and Work any Contractor Personnel
       whose involvement with unauthorized, prohibited, illegal or controlled Substances becomes
       known to Company.

  3.3. If Company notifies Contractor it has reason to believe that Contractor Personnel are in violation
        of any provision of this Exhibit C, Company may direct Contractor to remove such Personnel
        from the Work and Company Premises. No Contractor Personnel so removed from the Work or
        Company Premises shall be permitted to return to the Work or Company Premises until such
        person has undergone a medical examination which establishes to the satisfaction of Company
        that such Personnel's condition was not a result of the use of Substances, or until Company has
        been provided with other evidence satisfactory to Company that such Personnel's actions were
        not in violation of the provisions of this Exhibit C.

  3.4. Company reserves the right to revise this Exhibit C from time to time. Any revision to this Exhibit
       C will become effective thirty (30) days after the date of Company's notice to Contractor of such
       revision. Contractor will be responsible for communicating such revisions to all Contractor
       Personnel and will revise its own program to bring it into compliance with the Company's revised
       requirements. Contractor shall also review its own program from time to time, regardless of
       notice from Company, so as to be continuously in compliance with applicable laws and
       regulations.

  3.5. Should Contractor fail to comply with the prohibitions and the provisions of this Exhibit C, such
       failure shall be considered a substantial and material breach of the Agreement and/or the
       applicable Service Order.




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                                                EXHIBIT "D"
                      POLLUTION/WASTE DISPOSAL AND CLEANUP WORKSITE
If Contractor or its subcontractors or their respective Employees release oil or a hazardous substance, as
those terms are defined by applicable federal or state regulations at or near the Worksite, or otherwise
during activities associated with the Work in a "Reportable Quantity" or other amount requiring
governmental notification, Contractor shall immediately notify Company orally and in writing. Contractor
shall also notify the agencies and institutions that are required to be notified by the applicable statutes,
regulations, and governmental requirements, in the manner and within the time required thereby.
The reports to the Company shall include details as to the time, location, amount of spillage, leak, or
release, and type of incident as well as Contractor's proposal for handling the incident. Any spill, leak, or
release caused by Contractors or its subcontractors, or their respective Employees, as described above,
no matter the amount, shall be handled and cleaned up at Contractor's expense to Company's
reasonable satisfaction.
 Contractor shall conduct and cause its subcontractors to conduct all operations under this Agreement
and any Service Order, including but not limited to handling, management, and disposition of any solid
and liquid wastes and hazardous substances and materials introduced or generated by Contractor or its
subcontractors (including any paints, solvents, cleaners, fuels, lubricants, waste oil,
construction/demolition wastes, and other substances), in strict compliance with applicable laws, orders,
rules, regulations, and permits pertaining to pollution and waste disposal including, but not limited to
regulations applicable to inland waters. Contractor shall not store, accumulate, dispose of, or treat any
hazardous waste, radiological waste, or industrial waste of any kind on Company's premises or Worksite
and shall not dispose or permit disposal of waste, trash, garbage, and sewage in any form on the
premises or into any waters on the premises.
Contractor shall, in addition, comply with the following relating to clean up of work sites:
1. Contractor shall keep each Worksite clear of debris and any excess materials and equipment. Upon
   completion of the Work, Contractor shall clean up the Worksite to Company's reasonable satisfaction.
   In the event Contractor fails to satisfactorily clean the Worksite, Company shall have the right, at
   Contractor's expense, to perform the clean up or to cause it to be performed.

2. If Contractor or one of its subcontractors is providing transport of nonhazardous solid waste, trash or
   debris from Company premises, no commingling of waste shall take place during transport from
   sources and sites other than Company and its Affiliates without the written consent of Company.
   Under no circumstances shall hazardous wastes be commingled with non-hazardous wastes.
   Contractor shall not accumulate, store, transport, treat, recycle, reuse or dispose of any hazardous
   waste, radiological waste or industrial waste of any kind belonging to Company unless Company and
   Contractor agree to the terms of a separate written waste management agreement for such purposes,
   which has been executed by authorized representatives of both parties.
    Contractor shall provide, and cause its subcontractors to provide, access to records and information
    and cooperate with any investigation which Company may elect to undertake in regard to any spill,
    leak, release, clean-up or other matter covered by this Exhibit. Nothing herein shall be construed or is
    intended to require investigation or supervision on the part of Company.




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                                                EXHIBIT "E"
                                HAZARD COMMUNICATIONS PROGRAM

In accordance with the OSHA Hazard Communication Standard (e.g., 29 CFR 1910.1200), the following
information is supplied to all Contractors doing business with Company and/or any of its Affiliates.
Contractor acknowledges receipt of this Exhibit and agrees that the information presented and referred to
in this Exhibit will be transmitted to all affected Employees and agents in a clear and effective manner so
that such Employees and agents will be properly informed of the hazardous chemicals to which they may
be exposed while performing duties at any Worksite, as well as the locations and availability of safety
data sheets ("SDS") covering such hazardous chemicals, the labeling system utilized in the Worksite, and
any precautionary ("protective") measures relative to such hazardous chemicals that need to be taken to
protect such Employees and/or agents during normal operating conditions and in foreseeable
emergencies in the Worksite. (For ease of reference, the foregoing information, materials, and
suggestions pertaining to hazardous chemicals, SDS, labeling systems, and precautionary measures are
referred to as "said information, materials, and suggestions".)

Contractor covenants and agrees, in accordance (at a minimum) with the requirements of the OSHA
Hazard Communication Standard, that Contractor has an obligation and liability to furnish and will furnish
to Company, and to other employers whose Employees may be exposed to hazardous chemicals
produced, used, or stored, at the Worksite by Contractor, all information, materials, and suggestions
concerning any and all hazardous chemicals produced, used, or stored at the Worksite by Contractor.
Contractor further covenants and agrees that it has developed and will maintain a hazard communication
program covering all such hazardous chemicals, and all of said information, materials, and suggestions
referred to herein. Contractor shall furnish all of said information, materials, and suggestions in good faith,
utilizing a high degree of care and diligence, and such knowledge and information as is in the possession
of or available to Contractor.

Containers of hazardous chemicals supplied by Company will have their contents identified by chemical
name either through the use of hazard warning labels, stencil, or such other means as permitted under
the OSHA Hazard Communication Standard. Please note that the identification and labeling of hazardous
chemicals under the OSHA Hazard Communication Standard are not designed to communicate all
relevant information respecting each particular hazardous chemical. Contractor shall utilize and shall
assure that its Employees and agents utilize said information, materials, and suggestions as are furnished
by Company at the Worksite. Without limiting the generality of the foregoing, Contractor shall give
particular attention and review to the appropriate material safety data sheets (MSDS) for each such
hazardous chemical.

Contractor acknowledges that each of Company's facilities has available for Contractor's use written
information concerning the hazard communication program, a list of hazardous chemicals used by
Company at that facility, SDS's for each such chemical, and an explanation of Company's labeling
system. This information is available in plant facilities' control rooms and in the plant superintendent/work
group supervisor's office.

Contractor agrees that its written hazard communication program shall include the methods Contractor
will use to inform Employees and agents of the hazards of non-routine tasks and the hazards associated
with chemicals contained in unlabeled pipes in such Employees' and agents' work areas. Methods that
may be used by Company to provide information concerning such hazards may include safety


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orientations, safety meetings, and/or the use of a permit system in connection with which specific safety
procedures, hazard warnings, and appropriate personal protection equipment are addressed.
Contractor expressly understands, acknowledges, and agrees: (1) that Company has provided the said
information, materials, and suggestions for hazardous chemicals produced, used or stored by Company
at the Worksite, the said information, materials, and suggestions provided by Company being hereinafter
referred to, for ease of reference, as "such suggestions"; (2) that such suggestions are provided by
Company in good faith, but without any representation by Company as to any expertise or superior
knowledge on the part of Company concerning the subject matter of such suggestions; (3) that although
provided by Company in good faith, such suggestions may not be current, complete, or correct as of the
date of the presentation thereof to Contractor; (4) that such suggestions may not be suitable, complete, or
correct for the particular operations or uses for which Contractor may utilize the same; (5) THAT
NEITHER COMPANY NOR ANY AFFILIATE THEREOF MAKES ANY GUARANTEE OR WARRANTY,
EXPRESSED OR IMPLIED, AS TO THE COMPLETENESS OR ACCURACY OF ANY SUCH
SUGGESTIONS, NOR AS TO THE COMPLETENESS OR ACCURACY OF ANY SUCH
SUGGESTIONS, NOR AS TO THE FITNESS OR SUITABILITY•OF THE SAME FOR ANY PARTICULAR
PURPOSE OR ACTIVITY; (6) THAT WITHOUT BEING RESTRICTED BY THE FOREGOING, ANY AND
ALL WARRANTIES RESPECTING SUCH SUGGESTIONS, EXPRESSED OR IMPLIED, INCLUDING
THE WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE, ARE
EXCLUDED AND DISCLAIMED IN THEIR ENTIRETY; (7) THAT COMPANY AND ITS AFFILIATES
NEITHER UNDERTAKE NOR ASSUME ANY LIABILITY IN CONNECTION WITH THE USE OF OR ANY
RELIANCE UPON ANY OF SUCH SUGGESTIONS, THE FOREGOING INCLUDING, WITHOUT
RESTRICTION, ANY LIABILITY FOR SPECIAL, INCIDENTAL, OR CONSEQUENTIAL DAMAGES; (8)
that the undersigned Contractor and its Employees and/or agents will at all times and in all respects
comply with the Occupational Safety and Health Act of 1970, as amended, and all regulations and
standards adopted and/or promulgated thereunder or in connection therewith, as well as with all state
and/or local laws, ordinances, rules, and regulations pertaining to occupational safety and/or health; (9)
that the provisions hereof shall extend to all information, materials, and suggestions provided by
Company, whether or not the same shall be denominated as "suggestions", and that no such suggestions
howsoever furnished shall limit the Contractor's responsibility or liability respecting the safety and/or
health of its Employees and agents; and (10) THAT THE CONTRACTOR SHALL INDEMNIFY AND
HOLD COMPANY, ITS AFFILIATES AND COVENTURERS, AND ALL SUCH PARTIES' OFFICERS,
AGENTS, AND EMPLOYEES HARMLESS FROM AND AGAINST ANY AND ALL CLAIMS,
LIABILITIES, DAMAGES, PENALTIES, COSTS, LOSSES, OR EXPENSES (INCLUDING, WITHOUT
RESTRICTION, REASONABLE ATTORNEY'S FEES) ARISING IN WHOLE OR IN PART FROM OR IN
ANY WAY RELATED TO CONTRACTOR'S (OR ITS EMPLOYEES' OR AGENTS') USE OF ANY SUCH
SUGGESTIONS FURNISHED BY COMPANY, OR ARISING IN WHOLE OR IN PART, FROM OR IN
ANY WAY RELATED TO CONTRACTOR'S FAILURE, WHETHER OR NOT NEGLIGENT, TO COMPLY
WITH ANY OF THE PROVISIONS HEREOF.




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                                                 EXHIBIT "F"

                                          DISPUTE RESOLUTION

Arbitration. Any dispute, controversy, or claim (of any and every kind or type, whether based upon
contract, tort, statute, regulation, or otherwise) (a "Dispute") arising out of, connected with or relating in
any way to this Agreement or any Service Order, including any question regarding its existence, validity
or termination, which cannot be resolved by direct communication between the parties shall be referred to
and resolved by final and binding arbitration.

The Dispute shall be administered by the American Arbitration Association ("AAA") in accordance with its
Commercial Arbitration Rules (the "Rules"). The seat of arbitration shall be Houston, Texas, and the
arbitration shall be governed by the laws of the State of Texas. The language of the arbitration shall be
English.
Number of Arbitrators. The arbitral tribunal shall consist of a single arbitrator if the Dispute involves claims
and counterclaims valued in the aggregate of less than Five Million United States dollars (US
$5,000,000), or by three arbitrators if: (i) the Dispute involves claims and counterclaims valued in the
aggregate of equal to or more than Five Million United States dollars (US $5,000,000), and/or (ii) only
declaratory or other non-monetary relief is sought. In the event of a disagreement between the parties
concerning the aggregate value for claims and counterclaims involved in the Dispute, the tribunal shall
consist of three arbitrators.
Appointment of the Arbitral Tribunal. In the event that one arbitrator shall hear and determine the Dispute,
the parties shall attempt to agree upon a qualified individual to serve as arbitrator. If the parties are
unable to so agree within thirty (30) days of the response to the notice of arbitration, or such other time as
the parties may agree in writing, then the arbitrator shall be selected and appointed in accordance with
the Rules.
In the event that three arbitrators shall hear and determine the Dispute, the claimant(s) in the request for
arbitration and the respondent(s) in the response shall each designate one person to act as arbitrator.
The two arbitrators so selected shall, within thirty (30) days of their appointment, select a third arbitrator
who shall serve as the chairperson of the arbitral tribunal. The arbitrators selected shall be qualified by
education, training and experience to hear and determine matters in the nature of the Dispute.

If a party fails to appoint an arbitrator as provided herein, of if the arbitrators selected by the parties are
unable or fail to agree upon a third arbitrator, then that arbitrator shall be selected and appointed in
accordance with the Rules.

Should an arbitrator die, resign, refuse to act, or become incapable of performing his or her functions as
an arbitrator, the AAA may declare a vacancy on the tribunal, and the vacancy shall be filled by the
method by which the arbitrator was originally appointed.
Conservatory or Interim Measures. Nothing in this Exhibit "F" shall prevent any party, before arbitration
has been commenced under this Exhibit "F" or any time thereafter, from seeking conservatory and interim
measures, including, but not limited to, temporary restraining orders or preliminary injunctions, or their
equivalent, from a court of competent jurisdiction.
Discovery. At the request of a party, the arbitral tribunal shall have the discretion to order the disclosure of
non-privileged, specified documents or narrow and specific categories of non-privileged documents
reasonably thought to exist. Such a request shall (i) identify the particular document(s) or specific
categories of documents sought with a reasonable degree of specificity; (ii) describe how the documents



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requested are relevant and material to the outcome of the Dispute; and (iii) include a statement that the
documents are not in the possession, custody or control of the requesting party and of the reason why
that party believes the documents are in the possession, custody or control of the other party. No other
form of discovery, to include, without limitation, depositions, interrogatories, or requests for admission,
shall be permitted without the agreement of both parties.
Award of Fees, Costs and Interest. The arbitral tribunal shall award to the party prevailing in the
arbitration its costs, expert witness fees and expenses and reasonable attorneys' fees and expenses
along with compound interest thereon calculated at a reasonable commercial rate.
Entry of Judgment. Judgment on the award may be entered and enforced in any court of competent
jurisdiction.
No Appeal. Any right to challenge any arbitral decision or award, or to oppose enforcement of any such
decision or award before a court or any governmental authority is hereby waived by the parties except
with respect to the limited grounds for modification or non-enforcement provided by the Rules.




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                                             EXHIBIT "G"
                  COVERAGE OF LOUISIANA WORKERS' COMPENSATION LAW
The following provisions and terms shall apply in all cases where Contractor's employees (defined to
include Contractor's direct, borrowed, special, or statutory employees) are covered by the Louisiana
Workers' Compensation Law, Louisiana Revised Statutes ("La. R.S.") 23:1021 et seq, as to Work or
services performed under this Agreement or any Service Order:
   In all cases where Contractor's employees (as defined above) are covered by the Louisiana Workers'
   Compensation Law, La. R.S. 23:1021 et seq., Company and Contractor agree that the work and
   operations performed by Contractor and its employees pursuant to the Agreement or Service Order
   are an integral part of and are essential to the ability of Company to generate Company's goods,
   products and services, and that Contractor's work and services shall be considered part of
   Company's trade, business, and occupation, for purposes of La. R.S. 23:1061(A)(1). Furthermore,
   Company and Contractor agree that Company is the principal or statutory employer of Contractor's
   employees for purposes of La. R.S. 23:1061(A) only. Irrespective of Company's status either as the
   principal or statutory employer or as the special employer (as defined in La. R.S. 23:1031[C]) of
   Contractor's employees, and regardless of any other relationship or alleged relationship between
   Company and Contractor's employees, Contractor shall be and remain at all times primarily
   responsible for the payment of Louisiana workers' compensation benefits to such employees, and
   shall not be entitled to seek contribution for any such payments from Company. This Exhibit is limited
   to and shall apply only in and to the extent of instances involving coverage of the Louisiana Workers'
   Compensation Law.


   Notwithstanding any other provision of this Agreement, Contractor shall, in addition to and without
   limitation of other insurance requirements, under all circumstances cause insurance described in
   Articles 19.1.1, 19.1.2, and 19.1.6 of the Agreement to be endorsed to designate, protect, and insure
   Company in any employment or alleged employment capacity including, but not limited to, as an
   alternate employer, as a principal and statutory employer, as a borrowing or "special" employer, and
   as a maritime employer against all claims whatsoever, whether for workers' compensation benefits,
   maintenance and cure, wages, death benefits, disability, or otherwise, related to employment or use
   of Contractor's employees or any other workers furnished by Contractor to perform work under this
   Agreement or any Service Order and shall cause such insurers and their underwriters to waive
   unconditionally any rights of subrogation against Company.
Nothing in this Exhibit shall be deemed to extend to Company a right of control or direction over
Contractor's Employees or to affect or modify either Contractor's status as an independent contractor or
Contractor's obligations under Article 11.2 or under any other provision of this Agreement.




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